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                                 UNITED STATES DISTRICT COURT
                            FOR THE SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                       CASE NO. 14-80468-CV-MIDDLEBROOKS/BRANNON

    SECURITIES AND EXCHANGE COMMISSION,

                                   Plaintiff,

    v.

    JCS ENTERPRISES, INC. d/b/a JCS
    ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
    JOSEPH SIGNORE, and PAUL L. SCHUMACK, II,

                                   Defendants.

    ____________________________________________/

                   THIRD REPORT OF RECEIVER JAMES D. SALLAH, ESQ.

           I, James D. Sallah, Esq., not individually, but solely in my capacity as the Court-

    appointed receiver (the “Receiver”) for JCS Enterprises Inc., d/b/a JCS Enterprises Services Inc.

    (“JCS”), T.B.T.I., Inc. (“TBTI”), My Gee Bo, Inc. (“Gee Bo”), JOLA Enterprise Inc. (“JOLA”),

    and PSCS Holdings, LLC (“PSCS”), their affiliates, subsidiaries, successors, and assigns

    (collectively, the “Receivership Entities” or “Estate”) submit this Third Report regarding the

    present status of the Estate (“Third Report”). Although neither the December 12, 2014 Order

    Reappointing me as Receiver nor the Amended Receivership Order dated April 7, 2014

    (collectively, the “Receivership Order”) require me to file status reports, I believe it is prudent at

    this time to submit this Third Report to apprise the Court and all interested parties of the ongoing

    efforts in carrying out my court-ordered obligations.
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                      IMPORTANT – PLEASE READ CAREFULLY

          THE STATEMENTS CONTAINED IN THIS REPORT ARE BASED ON MY
    INVESTIGATION CONDUCTED IN THE TIME ELAPSING FROM THE RECEIVERSHIP’S
    ESTABLISHMENT. I HAVE COMPILED THIS REPORT BASED ON BOTH MY AND MY
    PROFESSIONALS:    (1) REVIEW OF     TENS OF THOUSANDS OF PAGES OF
    DOCUMENTS, INCLUDING EXTENSIVE FINANCIAL RECORDS; AND (2) INTERVIEWS
    WITH NUMEROUS INDIVIDUALS, INCLUDING EMPLOYEES, ACCOUNTANTS,
    LEGAL PROFESSIONALS, VENDORS, INVESTORS, FINANCIAL INSTITUTIONS, AND
    OTHER RELATED PERSONS. THE FACTS AND CONCLUSIONS HEREIN MAY BE
    SUBJECT TO CHANGE AS MY INVESTIGATION PROGRESSES DURING THE COURSE
    OF THE RECEIVERSHIP. OTHER THAN THE AMOUNTS CONTAINED IN THE BANKS
    AND/OR BROKERAGE INSTITUTIONS, THE VALUE OF MOST OTHER ASSETS HAS
    YET TO BE DETERMINED DEFINITIVELY.          AS ADDITIONAL INFORMATION IS
    DISCOVERED, I INTEND TO FILE ADDITIONAL REPORTS FROM TIME TO TIME.
          IN WRITING THIS REPORT, I HAVE ATTEMPTED TO BALANCE THE
    IMPORTANCE OF FULL AND FAIR DISCLOSURE OF MATERIAL INFORMATION
    WITH THE CONCERNS OF THE UNDERLYING BUSINESSES AND ASSETS
    INFORMATION REMAINING CONFIDENTIAL FOR COMPETITIVE REASONS.              TO
    THAT END, I HAVE OPTED, IN MOST CASES, TO DISCLOSE A SIGNIFICANT
    AMOUNT OF FINANCIAL INFORMATION AND CAUTION ANY INDIVIDUALS OR
    ENTITIES WHO INTENTIONALLY MISREPRESENT THE INFORMATION CONTAINED
    HEREIN IN AN EFFORT TO DISPARAGE THE RECEIVERSHIP ENTITIES, OR SEEK TO
    USE IT UNFAIRLY TO GAIN A COMPETITIVE ADVANTAGE, THAT ANY SUCH
    ACTION MAY HAVE SIGNIFICANT LEGAL CONSEQUENCES.
          FINALLY, TO THE EXTENT THAT THE RECEIVERSHIP ENTITIES ARE
    ENGAGED IN LITIGATION, OR ARE EXPLORING POTENTIAL LAWSUITS AGAINST
    INDIVIDUAL OR ENTITIES, I HAVE NOT SET FORTH ALL OF THE INFORMATION
    SURROUNDING THESE LAWSUITS OR POTENTIAL LAWSUITS SO AS NOT TO
    DISCLOSE    PRIVILEGED, WORK PRODUCT            INFORMATION, OR   LITIGATION
    STRATEGY.
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          I.      CURRENT CASH BALANCES IN RECEIVERSHIP ESTATE ACCOUNTS
               As of August 31, 2015, I have obtained the following net cash amounts, which are

    currently segregated into four primary Estate accounts:

                      Receivership Estate Account Balances as of August 31, 2015
    JCS Enterprises, Inc.                                                              2,030,341.07
    T.B.T.I., Inc.                                                                       908,093.36
    My Gee Bo, Inc.                                                                      931,612.57
    JOLA Enterprise Inc.                                                                 618,698.22
    Cash Balances in Receivership Estate Accounts                                      4,488,745.22


    The table above includes only the cash balances currently maintained in bank accounts under my

    control. It excludes, among other things, tangible assets, real property, personalty, and other

    liquid assets that are also currently under my control, or otherwise frozen as a result of the

    Preliminary Injunction [DE 16].1

               In accordance with the Receivership Order and/or this Court’s approval, I have also paid

    certain necessary expenses in carrying out my duties and responsibilities. Specifically, the

    following tables reflect amounts transferred to the Estate accounts and certain disbursements

    paid from the inception of the Receivership on April 7, 2014 to August 31, 2015:

         JCS Enterprises, Inc. – Receivership Estate Segregated Account as of August 31, 2015


        Receipts:
        Turnover of Funds from Frozen Accounts                        2,541,806.91
        A&K Electronic Turnover of funds (segregated)                   175,580.00
                                                 564564                          A

                                                                              A&K

    1
     For example, as explained in more detail below, I am in the process of closing on the sale of a
    home and personal property for $1,425,000, listing two other homes for sale, and resolving
    several disputes with third parties.
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     Business Asset Liquidation                                    25,000.00
     Various Account Refunds Collected                              9,711.49
     Petty cash received from JCS headquarters                        102.79


     Total Receipts                                                              2,752,201.19
     Disbursements:
     Disbursements to Receiver                                   (31,689.81)
     Disbursements to Other Professionals                       (394,380.40)
     Lease Payments                                             (209,497.63)
     Contract Labor & Office Expenses                            (58,364.80)
     Other Expenses                                              (27,927.48)
     Total Disbursements:                                                        (721,860.12)
     Cash Balance in JCS Enterprises, Inc. Segregated Account                    2,030,341.07

     Account
           T.B.T.I., Inc. – Receivership Estate Segregated Account as of August 31, 2015
     Receipts:
     Litigation and Settlements                                   647,765.50
     Sale of ATM Business to eGlobal                              200,000.00
     Vault Cash Recovered from ATM Machines                       184,694.00
                                            564564
     Turnover of ATM Profits Due from eGlobal                     108,492.30
     Turnover of Funds from Frozen Accounts                        19,011.29
     Lease Deposit Refund                                           2,836.38
     Total Receipts                                                              1,162,799.47
     Disbursements:
     Disbursements to Receiver                                   (10,816.31)
     Disbursements to Other Professionals                       (142,899.88)
     Coconut Creek Property Expenses                             (83,905.04)
     Contract Labor and Office Expenses                           (8,750.50)
     Other Expenses                                               (5,414.08)
     Lease Payments                                               (2,920.30)
     Total Disbursements:                                                        (254,706.11)
     Cash Balance in T.B.T.I., Inc. Segregated Account                             908,093.36



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         My Gee Bo, Inc. – Receivership Estate Segregated Account as of August 31, 2015
    Receipts:
    Turnover of Funds From Frozen Account                          1,127,987.20
    Total Receipts                                                                  1,127,987.20
    Disbursements:
                                                564564
    Disbursement to Receiver                                        (14,265.52)
    Disbursement to Other Professionals                            (177,602.35)
    Office Expenses                                                  (4,506.76)
    Total Disbursements:                                                            (196,374.63)
    Cash Balance in My Gee Bo Inc. Segregated                                         931,612.57

    Account
    JOLA Enterprises, Inc. – Receivership Estate Segregated Account as of August 31, 2015

    Receipts:
    Turnover of Funds From Frozen Account                          746,698.09
    Total Receipts                             564564                                 746,698.09
    Disbursements:
    Disbursements to Receiver                                       (9,528.37)
    Disbursements to Other Professionals                          (118,480.50)
    Total Disbursements:                                                            (128,008.87)
    Cash Balance in JOLA              Enterprises,    Inc.                            618,689.22

    Segregated Account

       II.      UPDATES ON THE FINANCIAL RECONSTRUCTION

                 A. Conclusions From the Financial Reconstruction to Date

             As explained in the Second Report of Receiver James D. Sallah, Esq. (“Second Report”)

    [DE 200-1], my professionals, namely the forensic accounting firm Kapila Mukamal, L.P., have

    been engaged in an extensive and complex financial reconstruction of dozens of financial

    accounts belonging to the Receivership Entities and related third parties. The reconstruction

    spans a period from December 2011 through April 30, 2014 (the “Relevant Time Period”). It has

    included reviewing more than one thousand investor files (1,000), and records from seventy-

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    seven (77) related financial accounts, including fifty-six (56) bank accounts, eight (8) brokerage

    accounts, six (6) credit card accounts, and at least seven (7) merchant accounts.             The

    reconstruction also involved reviewing tens of thousands of pages of documents that I have

    received in response to nearly one hundred and fifty (150) subpoenas that I issued to various

    third-party individuals and entities.

           The reconstruction, which is still underway, has established that during the Relevant

    Time Period, the Receivership Entities received approximately $80.7 million from investors by

    “selling” them approximately 22,500 virtual kiosk machines (“VCMs” or “machines”). Of the

    VCMs sold, JCS and TBTI actually placed fewer than 100 VCMs at fewer than 50 different

    locations. During the Relevant Time Period, JCS and TBTI touted that returns on investments

    would be generated by advertising revenue from the VCMs.                However, the financial

    reconstruction has evidenced that the advertising revenue was de minimis.           My ongoing

    investigation indicates that repayments to investors from the Receivership Entities totaled

    approximately $49.7 million. The only meaningful source of funds available to the Receivership

    Entities from which to make these investor payments were funds received from subsequent

    investors, the hallmark of a Ponzi scheme.

           This Court should be aware that in addition to my engagement of Kapila Mukamal, the

    accounting firm has also been engaged by the U.S. Attorney’s Office for the Southern District of

    Florida in United States v. Joseph Signore, et al. (Case No.: 14-CR-80081-HURLEY) in

    connection with an upcoming criminal trial against Defendants Joseph Signore and Paul

    Schumack, as well as Laura Signore, Defendant Signore’s wife. In that regard, Melissa Davis,

    CPA, of Kapila Mukamal, prepared an expert report for the U.S. Attorney’s Office (the “Expert



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    Report”) based, in part, on the financial reconstruction. Some of the Expert Report’s conclusions

    are as follows:

               At least 1,823 parties invested approximately $80.7 million through Receivership
                Entities;

               At least $17.5 million was invested by utilizing credit cards;

               The Receivership Entities only generated $21,233 in advertising revenue;

               Certain transfers from JCS for the benefit of Defendant Signore that were detailed in
                the Expert Report totaled at least $2.5 million;2 and,

               Certain transfers from TBTI for the benefit of Defendant Schumack that were in the
                Expert Report totaled approximately $4.4 million.

    A copy of the Expert Report, dated September 3, 2015 is attached hereto as Exhibit “A.” This

    Expert Report provides further details concerning the sources and uses of funds, and cash flows,

    among other things.

                B. My Professionals are Continuing to Calculate Total Losses

            As explained above, of the approximately $80.7 million raised, the financial

    reconstruction shows currently that during the Relevant Time Period, the Receivership Entities

    returned approximately $49.7 million to investors. However, given the information available to

    date, it is still too premature to draw the conclusion that investors’ losses result in a total of

    approximately $31 million ($80.7 million minus $49.7 million) without additional analysis. This

    is due to two primary factors that have hindered a final and complete reconstruction.




    2
      Notably, these certain $2.5 million in transfers to Defendant Signore that are identified in the
    Expert Report are not the only transfers to him and his wife, Laura. The Receiver’s forensic
    accounting reflects that the transfers made to them, or for their benefit, total approximately $4.5
    million.
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           First, certain investors profited from their investment in VCMs (i.e., profiteers - those

    investors who received a return in excess of their principal investment). The total amount of

    excess or “false profit” payments to these profiteers must be added to the approximately $31

    million in approximate losses in order to finalize the calculation of total investor loss as a result

    of the Ponzi scheme. Hence, any portion of the $49.7 million that was paid out to investors that

    exceeds the return of their principal (i.e., false profits) will necessarily increase the total loss

    calculation in an amount equal to such payments. For example, if $5 million of the $49.7 paid to

    investors constituted payments in excess of the principal invested, then the amount of the loss

    would increase to $36 million ($31 million plus $5 million).3

           Second, a complete reconstruction of the credit card charges and chargebacks 4 has, for

    the reasons explained below, been more time consuming than anticipated initially.5 Nonetheless,

    finalizing the reconstruction is essential and must be considered in determining the total investor

    losses. Indeed, the final reconstruction is required so that I can allocate losses according to a

    Court-approved methodology, and fairly evaluate claims during a claims process.

           Since JCS bank statements do not specifically identify investors associated with the credit

    card transactions (“investor-card holders”), it has been necessary for my forensic accountants to

    review a large amount of additional documents from multiple sources that correlate the bank



    3
      As explained below, I have and will continue to pursue claims against individuals who, and
    entities that, received payments in excess of their principal investment.
    4
      Many investors requested a chargeback from their credit card company prior to, and after the
    commencement of the Receivership Estate. These investors may have already received the funds
    they invested back from their credit card company.
    5
      In my Second Report, I anticipated drafting a motion to approve the claims form and claims
    process as early as April 2015. However, for the reasons described in this Report, I have not
    been in the position to do so.
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    deposits with the investor credit card transactions. Specifically, my forensic accountants are still

    in the process of reconciling the information received from the merchant account financial

    institutions – which alone consists of nearly 25,000 pages of data – to determine which investor-

    card holders received chargebacks, and whether such chargebacks should be categorized as a

    return of principal or false profits. As the information from the merchant banks is processed by

    my forensic accountants, my legal team continues to issue subpoenas to the various issuing

    banks, which issue the credit cards to further obtain details of these charges.

           As explained in my Second Report, the credit card chargebacks that are paid out will

    likely reduce the amount of claims that I anticipate receiving from certain investors, and

    potentially other creditors. If, for example, an investor-cardholder recovers all or a portion of her

    losses through a chargeback payment, I will likely recommend the Court deny any claim up to

    the amount of the chargeback. To date, one of the primary merchant processing companies, First

    Data Merchant Services Corporation (“First Data”), has represented that as of March 30, 2015, it

    has received chargeback requests totaling $9,516,488.25, and has paid a total of $7,315,647.626

    in chargebacks to investor-cardholders.7 Such payments will likely result in large claims being

    submitted by the merchant processing companies as trade creditors.

           To further complicate the financial reconstruction, my investigation has revealed that

    numerous investors utilized both credit cards and cash to invest in VCMs, and may have been




    6
     It should be noted that in my Second Report, I represented that First Data had advised that it
    had paid out chargebacks totaling $9,636,124.25 as of December 31, 2014. However, as
    explained above, First Data has recently amended this information.
    7
      To the extent that these chargebacks represent repayments of an investor’s principal
    investment, it will reduce the $31 million in losses on a dollar for dollar basis and, accordingly,
    will increase the amount of potential claims.
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   repaid by credit card chargeback, cash, and/or some combination of the two. Moreover, in

   addition to individuals investing in their own names, some also invested through various entities

   or businesses, which may have purchased VCMs with cash, credit cards, or some combination of

   both.     These various scenarios present further complexities, and require further financial

   reconciliations, that have also slowed the completion of the reconstruction.

      III.      LITIGATION

             The Receivership Order provides that I may initiate actions on behalf of the Receivership

   Entities against those individuals or entities who received transfers of monies or other proceeds

   directly or indirectly traceable from investors of the Receivership Entities. [DE 19]. Such

   actions may include, but are not limited to, those for disgorgement of profits, unjust enrichment,

   impositions of constructive trusts, and recovery and/or avoidance of fraudulent transfers under

   Florida Statute § 726.101, et seq. Id.

             A. The Renshaw Lawsuit

             On April 13, 2015, I filed a lawsuit against Richard C. Renshaw (“Renshaw”) and

   Investors Unlimited, LLC, (“Investors Unlimited”) an entity controlled by Renshaw

   (collectively, the “Renshaw Defendants”), in the U.S. District Court for the Southern District of

   Florida (Case No. 9:15-CV-80475-MIDDLEBROOKS/BANNON). My complaint alleges that

   Mr. Renshaw and Investors Unlimited received commission payments totaling $430,275 and

   $1,447,575, respectively. TBTI made these commission payments to the Renshaw Defendants as

   compensation for their efforts in selling investments.

             I brought claims against Renshaw Defendants under various provisions of Florida’s

   Uniform Fraudulent Transfer Act (“FUFTA”) and for unjust enrichment. Both are essentially

   clawback claims, in which I am attempting to obtain a judgment against the Renshaw Defendants

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   for the monies that they received from the Receivership Entities. To date, I have propounded

   discovery on the Renshaw Defendants and recently took Mr. Renshaw’s deposition.

              The trial in this matter is scheduled to commence during the two week period beginning

   January 25, 2016, but I have agreed to attempt to resolve this matter through mediation, which is

   currently set for November 9, 2015.

          B. The Signore Lawsuit

          On September 10, 2015, I filed a lawsuit against Joseph and Laura Signore (collectively,

   the “Signore Defendants”) in the U.S. District Court for the Southern District of Florida (Case

   No. 15-CV-80946-MIDDLEBROOKS/BRANNON).                     In my complaint, I contend that the

   Signore Defendants operated JCS and Gee Bo as a Ponzi scheme, causing JCS to make millions

   of dollars in payments to investors to continue the fiction that JCS’s VCM machines were

   actually generating returns for those investors. Among other things, the Signore Defendants

   caused JCS to transfer monies: (a) as returns and/or redemptions to earlier investors; (b) as

   commission paid to agents who helped perpetuate the scheme; (c) for their own use, including

   diverting funds to themselves or other companies they controlled; and, (d) to vendors in order to

   continue to operate their scheme for the purpose of raising additional capital from potential and

   existing investors.     In reality, I allege the above-referenced transfers were made almost

   exclusively from new investor monies or monies from existing investors.

          In addition to causing JCS to become millions of dollars in debt, I contend that the

   Signore Defendants also used JCS and JOLA for their own personal benefit and to the detriment

   of the Receivership Estate. Between 2011 and April 7, 2014, the complaint provides that the

   payments that JCS and JOLA made for the Signore Defendants benefit alone totaled nearly $4.5

   million.

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          Based on Signore’s alleged conduct, my complaint advances claims for unjust

   enrichment, breach of fiduciary duty, conversion, as well as claims under various provisions of

   FUFTA.      I am also seeking that the Court impose a constructive trust in favor of the

   Receivership Estate for any property currently in the Signore Defendants’ possession that

   rightfully belongs or is traceable to the Receivership Entities.

          The Signore’s moved to dismiss my Complaint based on their contention that I did not

   properly serve them in accordance with Florida law. I filed a response in opposition to their

   motion to dismiss. The Court has not yet ruled on their motion.

          C. Motion for Preliminary Injunction as to Defendant Laura Signore

          On September 22, 2015, I filed a motion for preliminary injunction in order to prevent the

   further dissipation of assets that are currently in the possession, custody, and control of

   Defendant Laura Signore. It is my contention, based on the conclusions provided by my forensic

   accountants, that such assets are traceable to, and rightly the property of, the Receivership Estate.

          D. Signore v. Signore Dissolution of Marriage Action

          On September 16, 2015, I moved, on an unopposed basis, to stay partially the dissolution

   of marriage action styled as Laura Signore v. Joseph Signore, Case No. 50-2015-DR-004409-

   XXXX-NB, pending in the Fifteenth Judicial Circuit for Palm Beach County, Florida, to prevent

   the distribution, division, dissipation, or partition of any assets, whether real or personal, directly

   or indirectly, which are the subject of the Court’s Amended Receivership Order and Asset Freeze

   [DE 231]. As part of her petition for dissolution of marriage, Laura Signore requested that the

   divorce court partition marital assets that I contend are property of the Receivership Estate.




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             On October 2, 2015, the Court issued an Order granting the Stay, which will serve to

   prevent the partition of those assets, but will also permit the remainder of the dissolution of

   marriage action to proceed. [DE 234].

       IV.      SETTLEMENTS WITH THE RECEIVERSHIP ESTATE

             Since the submission of my Second Report, the Court has approved several settlement

   agreements with individuals or entities whom I concluded were profiteers. During this same

   time period, I entered into negotiations with several individuals and entities that profited from

   their investments and are currently in various stages of settlement discussions with them.

             A. The Moxey Settlement

             In late 2014, I sent a demand letter to Lance and Susan Moxey, and Virtual Enterprises,

   LLC, an entity that they control (collectively, the “Moxeys”), seeking the monies that they

   received from the Receivership Entities in excess of those that they provided to such entities.

   On February 5, 2015, I entered into a Confidential Stipulation with the Moxeys wherein I agreed

   to release them from any claims that I could advance against them in return for a monetary

   settlement, subject to approval by the Court (the “Moxey settlement agreement”). On July 22,

   2015, the Court entered an Order approving the Moxey settlement agreement.8 [DE 223].

             B. The Keaveney Settlement

             In late 2014, I sent a demand letter to Brian Keaveney on the basis that the Receivership

   Entities transferred monies to him in excess of what he invested in the Receivership Entities,

   representing so-called profits. On February 16, 2015, I entered into a Confidential Stipulation




   8
    On July 22, 2015, the Court entered an Order to maintain the amounts of the Moxey, Keaveney,
   and Glades Baptist Church settlements under seal for one-hundred, twenty (120) days. [DE
   224]. As such, I cannot reveal the amounts of these settlements at this time.
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   with Mr. Keaveney wherein I agreed to release him from any claims that I could have advanced

   on behalf of the Receivership Estate in return for a monetary settlement (the “Keaveney

   settlement agreement”). The Keaveney settlement was contingent upon Court approval. On July

   22, 2015, the Court issued an Order approving the Keaveney settlement agreement. [DE 223].

          C. The Glades Baptist Church Settlement

          In early 2015, I sent a demand letter to Boca Glades Baptist Church (the “Church”),

   demanding that it repay monies it received from Defendant Schumack, who transferred the funds

   to it as tithes through TBTI. On May 6, 2015, I entered into a Confidential Stipulation with the

   Church, wherein I agreed to release the Church from any claims that I could have advanced

   against it in return for a monetary settlement (the “Church settlement”). The Church settlement

   was contingent upon Court approval.      On June 22, 2015, the Court approved the Church

   settlement. [DE 223].

          D. The Barnes Mediation

          On August 28, 2015, I mediated a dispute with Damon and Cathy Barnes, Jeremy Barnes,

   and Joshua and Jennifer Beauregard, as well as their respective business entities (the “Barnes

   Family”) in Tampa, Florida. The Barnes Family agreed to mediate my potential claims against

   them for fraudulent transfer and unjust enrichment. These claims arose from payments the

   Barnes Family received from TBTI that were well in excess of their capital contributions to the

   Receivership Entities.




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             The parties, with the assistance of the mediator, Judge Howard Tescher (Ret.), have

   successfully reached an agreement in principal.9 I anticipate filing a motion for Court approval

   of the settlements with the Barnes Family soon.

             E. Future Anticipated Litigation

             Since September 2014, I have sent over forty (40) demand letters to individuals and/or

   entities that I believe received more monies back from the Receivership entities than the amount

   they invested. Accordingly, I have made demands for such monies under FUFTA and unjust

   enrichment. I am in various stages of settlement discussions with those individuals and/or

   entities, and am preparing to file lawsuits against others.10

        V.      COURT APPROVAL OF THE SALE OF FORMER SCHUMACK HOME

             As explained in my Second Report, in early September 2014, Defendant Schumack’s

   counsel and my attorneys negotiated an agreement whereby Defendant Schumack and his spouse

   voluntarily turned over the bulk of their personal assets to the Estate. This was accomplished

   pursuant to a Court-approved Assignment and Assumption Agreement (“AAA”) that I entered

   with the Schumacks on September 17, 2014 (the “Assignment”) [DE 118 and 119].                  The

   Schumack AAA included, among other things, the Schumacks’ personal residence (the

   “House”), purchased in November 2013 for approximately $1,650,000, as well as certain

   contents and furnishings. Immediately thereafter, I procured insurance for the home and its




   9
    Judge Tescher has been appointed by several federal judges in the Southern and Middle
   Districts of Florida to mediate fraudulent transfer actions and other claims brought by receivers
   who have been appointed in SEC and CFTC enforcement actions.
   10
     I will be continuing to send demand letters to additional individuals and entities and, if in the
   best interests of the Estate, initiating legal actions against them for monies they received in
   excess of their principal investment.
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   contents, hired three appraisers pursuant to federal statute, and began maintaining the 1.5 acre

   property. Shortly thereafter, I listed the home for sale, with the sale conditioned on future Court

   approval.

          Early this year, I engaged a real estate agent to list the House for sale, and negotiated a

   reduced sales commission. In early February 2015, the House was originally listed on multiple

   listing services for $1,699,000, and, over the course of several months, the price was reduced

   down to $1,599,000 given a lack of reasonable offers and the fact that this property is unique,

   and somewhat extravagant, relative to the surrounding community.

          In August 2015, after having marketed the property for approximately ten (10) months, I

   received a cash offer of $1,425,000 to purchase the House and the personal property that was left

   inside. On August 14, 2015, after obtaining updated appraisals from three separate appraisers for

   the average amount of $1,485,000, I filed a Motion to Approve the: (1) Private Sale of Real and

   Personal Property Free and Clear of Liens, Claims, and Encumbrances; and (2) Form and

   Manner of Notice of Sale, Bidding, and Auction Procedures, with Supporting Memorandum of

   Law. [DE 225]. The Court issued an Order granting this motion on August 21, 2015 [DE 227].

          I have fulfilled my statutory obligations to advertise the sale as set forth in 28 U.S.C.

   §§2001 and 2002 and, no overbid was received within the statutory required deadline.

   Accordingly, I have notified the Court the sale will occur as soon as practicable. The proceeds

   from the sale of the Home will create an infusion of money for the Receivership Estate of

   approximately $1.35 million.11




   11
      Contemporaneous with receiving the $1.425,000 offer, I was able to further negotiate a
   reduction in the total commissions from 4% to 2.5%, amounting to a $21,000 reduction.
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      VI.      FUEL FOODS

            Prior to my appointment as Receiver, my investigation revealed Schumack caused TBTI

   to transfer approximately $1.18 million to Fuel Foods, Inc. (“Fuel Foods”), a small privately-

   held company, in three (3) tranches: (1) in January 2014, Fuel Foods converted $381,678 that

   Schumack caused TBTI to advance to the company during the period from March 11 to

   December 30, 2013 into 43 million shares of stock; (2) on January 13, 2014, Schumack caused

   PSCS to invest $400,000 into Fuel Foods in exchange for 2 million shares of stock; and (3) on

   February 3, 2014, Schumack caused PSCS to invest another $400,000 into Fuel Foods in

   exchange for another 2 million shares of stock. Schumack represented to Fuel Foods, on TBTI

   letterhead, that the funding for the first two (2) tranches was derived from funds owed to

   Schumack from TBTI for salary, commissions or sales bonuses payable to Schumack. On

   subscription agreements Schumack executed, he also represented that PSCS was an investment

   vehicle to hold assets.

            As this Court aware, in September 2014, it granted my motion to approve an assignment

   and assumption agreement between Schumack, his wife, and PSCS, on the one side, and me on

   the other, whereby all of Schumack’s, his wife’s, and PSCS’s right, title, and interests in Fuel

   Foods was assigned to the Receivership Estate. [DE 119]. As part of my duties, I have been

   attempting to monetize the Estate’s equity interests in Fuel Foods.      In this regard, I have

   collected financial information concerning the company through documents and interviews. I

   have also had discussions with third-parties concerning the Estate’s interests in Fuel Foods.




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   Further, my professionals have been, and continue to be, in on-going confidential discussions

   with Fuel Foods’s counsel concerning the company and the Receivership Estate’s interests.12

        VII.   MOTION FOR AUCTION FOLLOWING TERMINATION OF ASSET
               PURCHASE AGREEMENT WITH ATOMIC WORLD MEDIA, INC.

           In late November 2014, after several months of extensive negotiations, I entered into a

   conditional Asset Purchase Agreement (“APA”) with Atomic Paintball, Inc. (“Atomic”) to sell a

   combination of the JCS’s and Gee Bo’s assets for $1,536,971.75. The bulk of the assets that

   were to be sold under the APA were the VCMs, computer hardware, software, and certain

   contracts associated with the VCMs and Gee Bo. On January 6, 2015, the Court issued an Order

   Approving the APA, as well as the manner and form in which the sale of assets would be

   consummated. [DE 188].

           On February 18, 2015, I filed a Motion for Leave from the Order Approving the APA

   based upon Atomic’s breach of the APA. [DE 201]. Essentially, Atomic failed to make the

   requisite deposits in accordance with the terms of the APA. On February 19, 2015, the Court

   issued an Order granting my Motion for Leave from the Order Approving the APA.13 [DE 202].




   12
      Unbeknownst to me at the time, Fuel Foods’s CEO and majority shareholder, Mr. Erick
   Leander, contracted with a media network for Fuel Foods to appear on a national television show
   named The Profit in an attempt to obtain a capital investment into the company from the show’s
   host. Prior to Fuel Foods’ informing me of this agreement, the company had already filmed the
   episode and agreed to appear on the show. Shortly after I discovered this information, I issued
   subpoenas to collect information about it. In June 2015, the network aired the Fuel Foods
   episode on The Profit, during which, the show’s host elected not to invest in the company based,
   in large part, on the facts that Defendant Schumack had been sued in the instant case and that the
   Receivership Estate owns a significant interest in the company.
   13
     Under the APA, I was able to retain liquidated damages in the amount of $25,000 as a result of
   the breach.
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          Since Atomic’s breach, I, along with my professionals, continued to attempt to liquidate

   the JCS and Gee Bo assets. Among other things, I attempted to restock unopened new assets

   such as computers, monitors, credit card readers, and a vast assortment of other electronic

   equipment. However, various manufacturers were unable to restock the equipment or, demanded

   a restocking fee in excess of the estimated liquidation value. Accordingly, I determined that it

   was in the best interest of the Estate to liquidate through public auction. I also continue to

   market the assets on an Internet site used by fiduciaries such as bankruptcy trustees and

   liquidators to buy and sell assets. Those attempts were, and have continued to be, unsuccessful.

          Accordingly, in August 2015, I entered into an Auction Agreement with Martin Claire &

   Co., LLC. and filed a Motion with the Court for the Authority to: (1) liquidate certain

   receivership assets free and clear of liens, encumbrances and other interests by public auction or

   private sale through an auction company; (2) vacate the premises that JCS and Gee Bo formerly

   occupied in Jupiter, Florida; and (3) move the remaining unsold assets to a separate storage

   location (“Motion for Auction”). [DE 228].

          The Court has not yet ruled on the Motion for Auction.

      VIII. OTHER PENDING MOTIONS FILED BY MY COUNSEL

          In addition to the pending motions identified above, the following motions are also

   currently pending before the Court:

          A. Motion for Contempt against Mohammed Murad for Failing to Comply with
             Order to Show Cause, filed December 31, 2014 [DE 186]

          My counsel served a subpoena to Mohammed Murad on September 3, 2014. Mr. Murad

   did not respond to the subpoena, and the Court issued its Order to Show Cause to Mr. Murad on

   December 12, 2014. [DE 167.] The Order to Show Cause required Mr. Murad to comply with


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   the subpoena or show cause as to why he could not within ten (10) days of the Receiver’s service

   of the Order on Mr. Murad. [Id.] My counsel served the subpoena and filed proof of service on

   December 12, 2014. [DE 171.] When Mr. Murad did not comply or show the Court cause, I

   moved for contempt against him. Neither Mr. Murad nor any party has filed any opposition.

          B. Motion to Appoint Counsel on a Contingency Basis for Pursuing Claims against
             Third Parties, filed March 12, 2015 [DE 207]

          On March 12, 2015, I moved the Court for approval to appoint counsel on a reduced

   contingency-fee rate of twenty-five percent (25%) based on the recovery of funds from third

   parties after the commencement of a law suit. I believe this contingency-fee arrangement would

   be most effective for the Receivership. The contingency fee would not apply if I reach an

   agreement with third-party profiteers before filing a law suit, and the Receivership would not be

   obligated to pay attorneys’ fees or costs, which would be advanced by my counsel, unless and

   until my counsel has actually recovered funds. The SEC agreed not to oppose the Motion, and

   no other party filed any opposition.

          C. Motion for Contempt against Leo Miller for Failure to Comply with the Court’s
             Order Compelling Compliance with Subpoena, filed May 21, 2015 [DE 213]

          My counsel served a subpoena on Leo Miller on May 30, 2014. Mr. Miller responded to

   the subpoena on or about July 25, 2014, but objected to several items. I moved to compel Mr.

   Miller to respond to those items on August 19, 2014. [DE 108.] The Court ordered that Mr.

   Miller’s objections to those items were overruled on April 28, 2015, and required his compliance

   with the subpoena within fourteen (14) days. [DE 210.] The Court also notified Mr. Miller that

   his failure to comply could result in his facing contempt proceedings. [Id.] Mr. Miller did not

   produce the required documents, and I moved the Court to find Mr. Miller in contempt on May

   21, 2015. Mr. Miller never opposed the Receiver’s Motion.
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            D. Motion to Engage Counsel on a Hybrid Contingency/Hourly Fee Basis to Pursue
               Potential Claims against Third Parties, filed June 2, 2015 [DE 214]

            My lead counsel, Sallah Astarita & Cox, LLC, has a potential conflict of interest related

   to a money transfer from the Receivership Estate to certain third parties, and I cannot use my

   lead counsel to pursue claims concerning that transfer. Therefore, on June 2, 2015, I moved the

   Court for approval to hire Dimond, Kaplan & Rothstein, P.A., as special counsel on a hybrid

   contingency/hourly fee basis to pursue claims arising out of that transfer. The fee arrangement

   for the representation would be a blended rate of $200 per hour, which is a significant discount

   from the firm’s normal hourly rates, and, in the event I decide to pursue any claims, twenty

   percent (20%) of the Receivership’s gross recovery. The SEC agreed not to oppose the Motion

   before filing, and no other party filed any opposition.

      IX.      PARALLEL CRIMINAL PROCEEDINGS

            A. Craig Hipp’s Trial and Cooperation

            As explained in my First Report of Receiver [DE 107-1], soon after my appointment as

   Receiver, Craig Hipp, a former JCS employee, voluntarily approached my counsel and offered to

   turn over to the Receivership Estate approximately $175,000 that he was holding in a merchant

   account maintained in the name of A & K Electronic Solutions in connection with JCS.

            On January 16, 2015, I was subpoenaed to testify in a suppression hearing during which,

   Mr. Hipp alleged that I improperly entered the office suite where Gee Bo was located at the

   direction of law enforcement and gathered documents from his office in violation of his

   Constitutional rights. During my testimony I explained, among other things, that: (1) I was

   acting solely in fulfilling my Court-ordered mandate as Receiver; (2) neither law enforcement

   nor any governmental agency directed my actions; and, (3) the office where Gee Bo and Mr.


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   Hipp were located during the relevant time period was leased, paid for, and utilized by JCS. In

   denying Mr. Hipp’s motion, the Honorable Daniel T.K. Hurley stated that it would have been a

   “dereliction” of my duty and obligation as receiver not to have entered and secured the offices

   where Gee Bo was located.

          In May 2015, Mr. Hipp was convicted in a severed, criminal jury trial of one count of

   conspiracy to commit wire and mail fraud, one count of mail fraud, and one count of wire fraud.

   Following his criminal conviction, he approached my counsel and volunteered to provide me

   with certain information as well as to turn over two parcels of real property that he owned in Port

   St. Lucie, Florida.14 After ensuring that the two properties were not encumbered, I entered into

   an assignment and assumption agreement with Mr. Hipp, subject to Court approval, whereby he

   would transfer the real property to the Receivership Estate.

          In June 2015, the Court granted my motion seeking approval to enter into an assignment

   and assumption agreement to transfer Mr. Hipp’s real property to the Receivership Estate. As a

   result and described in my motion [DE 216], I was able to secure additional assets for the benefit

   of the Receivership’s creditors.     Specifically, I assumed two pieces of real property and

   dwellings, which I am currently in the process of listing for a future Court-approved sale.

          Judge Hurley sentenced Mr. Hipp to a term of 84 months of imprisonment, each count to

   run concurrently. During Mr. Hipp’s sentencing hearing, I was subpoenaed and testified as

   witness concerning, among other things, his cooperation in turning over assets to me.




   14
       Notably, in an interview with Mr. Hipp, he provided me with more specific information
   concerning a concealed safe in Defendant Joseph Signore’s master bedroom closet. In turn, I
   filed an emergency motion seeking the Court’s approval to enter Mr. Signore’s residence and
   inventory the contents of his hidden safe. Although denied without prejudice, I am still
   investigating this matter.
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      X.      CONCLUSION

           In conclusion, I am continuing to carry out my directives under the Receivership Order. I

   plan to submit additional status reports from time to time, and the facts and conclusions in this

   Third Report are subject to change as my investigation progresses during the course of the

   Receivership.

   Executed on this 2st day of October 2015.

                                                 Respectfully submitted,


                                                 /s/ James D. Sallah

                                                 James D. Sallah, Esq.,
                                                 Not individually, but solely in my capacity as
                                                 Receiver of JCS Enterprises, Inc. d/b/a JCS
                                                 Enterprises Services, Inc., T.B.T.I., Inc., and My
                                                 Gee Bo, Inc.




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                    UNITED STATES DISTRICT COURT
                    SOUTHERN DISTRICT OF FLORIDA
                       Case No.: 14-80081-CR-HURLEY


   UNITED STATES OF AMERICA,

                           Plaintiff,
   v.

   JOSEPH SIGNORE, et al

                           Defendants.
   _________________________________________/




                              EXPERT REPORT

            Submitted by Melissa Davis, CPA, CIRA, CFE

                              September 3, 2015
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                      UNITED STATES DISTRICT COURT
                      SOUTHERN DISTRICT OF FLORIDA
                         Case No.: 14-80081-CR-HURLEY


   UNITED STATES OF AMERICA

                             Plaintiff,
   v.

   JOSEPH SIGNORE, et al

                             Defendants.
   __________________________________________/



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                       UNITED STATES DISTRICT COURT
                       SOUTHERN DISTRICT OF FLORIDA
                          Case No.: 14-80081-CR-HURLEY


   UNITED STATES OF AMERICA

                               Plaintiff,
   v.

   JOSEPH SIGNORE, et al

                           Defendants.
   _________________________________________/


                                    EXPERT REPORT

   I.    OVERVIEW

                The U.S. Department of Justice retained Melissa Davis and

         KapilaMukamal LLP (collectively “Davis” or “KM”) to set forth certain opinions

         about JCS Enterprises, Inc. d/b/a JCS Enterprises Services, Inc. (“JCS”),

         T.B.T.I., Inc. ("TBTI").



                 KM’s opinions are based on an analysis of the documents enumerated

         at Exhibit A as of the date of this report. Additional documents and information

         may be made available or reviewed, and certain facts currently not available

         may come to light, which may impact the conclusions and opinions reflected

         herein. Furthermore, the forensic investigation and discovery is still in process

         and is not completed. Continued investigation may reveal information that has

         an impact on the analysis and findings presented in this report.



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                     This report was prepared solely for use in this matter or for use at the

             discretion of the U.S. Department of Justice. The information and conclusions

             reached should not be relied upon by any other person nor should any

             statement in this report be used for any other purpose without written consent

             from KM or without written consent from the Department of Justice.



   II.       SCOPE

             The U.S. Department of Justice has asked KM to quantify and opine on:

                     a. The number of investors that invested in the Ponzi scheme with JCS
                        (“JCS Investors”)1 and the amount of funds received from those
                        investors;

                     b. The number of investors that invested in the Ponzi scheme with
                        TBTI (“TBTI Investors”)2 and the amount of funds received from
                        those investors;

                     c. The amount of funds received by JCS and TBTI from investors that
                        paid for their investment with a credit card, and

                     d. Whether JCS or TBTI utilized investor funds derived from the Ponzi
                        scheme for the personal benefit of Joseph Signore (“Signore”) or
                        Paul Schumack (“Schumack”).


   III.      OPINIONS

             KM’s opinions are as follows:

                     a. At least 280 parties invested approximately $13.1 million in the
                        Ponzi scheme with JCS.3



   1 JCS and TBTI sold Virtual Concierge Machines (“VCMs”) to investors as part of the Ponzi scheme they operated
   from approximately December 2011 to April 2014. For purposes of this report, a JCS Investor is a party that
   contracted with JCS to purchase VCMs from JCS and a TBTI Investor is a party that contracted with TBTI to
   purchase VCMs from TBTI. KM’s classification of investors as either JCS Investors or TBTI Investors is not based
   on the entity which actually collected the funds from the investor.
   2
       Id.
   3
       Id.
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                     b. At least 1,530 parties invested approximately $64.1 million in the
                        Ponzi scheme with TBTI.4

                     c. JCS and TBTI received at least $15.9 million from investors that paid
                        with credit cards.5

                     d. JCS and TBTI utilized investor funds for the personal benefit of
                        Signore and Schumack, respectively.




   IV.       BACKGROUND

             JCS Enterprises, Inc. d/b/a JCS Enterprises Services, Inc.

                     JCS was incorporated on October 12, 2010 as a Delaware Corporation.

             On June 29, 2011, JCS registered as a Foreign Profit Corporation for purposes

             of transacting business in Florida. Joseph Signore and Laura Signore a/k/a

             Laura Grande were President and Vice President, respectively.6

             My Gee Bo, Inc.

                     My Geebo, Inc. (“Geebo”) was incorporated on April 2, 2013 under the

             laws of the State of Florida. Joseph Signore and Laura Signore were titled

             President and Treasurer/Secretary, respectively.7

             T.B.T.I., Inc

                     TBTI was incorporated on August 13, 2001 under the laws of the State

             of Florida. Paul Schumack and Christine Schumack were titled President and

             Secretary, respectively. On September 20, 2013, an amendment was filed to



   4
       Id.
   5 This amount represents inflows from credit card merchant accounts to the JCS bank accounts that KM was able
   to attribute to a specific investor, to date. These investor credit card payments were deposited into a JCS bank
   account regardless of which entity the investor contracted with. See Section VI(C) of this report.
   6
     www.sunbiz.org
   7 Id.


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           change Christine Schumack to President, change Paul Schumack to Vice

           President, add Crystal Miller as Treasurer and Chad Wright as Secretary.8

           JOLA Enterprises, Inc.

                    JOLA Enterprises Inc (“JOLA”) was incorporated on February 25, 2013

           under the laws of the State of Florida. Joseph Signore was titled President and

           Director and Laura Signore was titled Treasurer and Secretary. 9

           PSCS Holdings, LLC

                    PSCS Holdings, LLC (“PSCS”) was incorporated on August 5, 2013

           under the laws of the State of Florida. Paul Schumack and Christine Schumack

           were both titled as managing officers. 10


           Receivership Proceeding

                    James D. Sallah, Esq. was appointed as Receiver (“Receiver”) of JCS

           and TBTI (collectively “the Receivership”) on April 7, 2014.11 The Receiver

           filed a motion to expand the Receivership to include My Gee Bo, Inc.

           (“Geebo”)12 and on April 11, 2014 the Court entered an order granting the

           motion.13

                    KM was retained as the Forensic Accountants for the Receiver. KM

           issued an Expert Report on January 21, 2015 (“Receivership Expert Report”)

           which is attached as Exhibit B to this report. KM adopts the opinions set forth



   8 Id.
   9 Id.
   10 Id.
   11 D.E.19 in the Receivership Proceeding.
   12 D.E. 23 in the Receivership Proceeding.
   13
      D.E. 26. Per D.E. 114 in the Receivership Proceeding, the Court also expanded the Receivership to include
   JOLA Enterprises, Inc. and PSCS Holdings, LLC.
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            in the Receivership Expert Report (subject to the updated Bank

            Reconstruction based upon additional records and information received or

            reviewed since January 21, 2015) and this report supplements those opinions.



   V.       METHODOLOGY


                     As part of its role as Forensic Accountants for the Receiver, Davis and

            other professionals of KM prepared a detailed reconstruction (“Bank

            Reconstruction”) of the funds received and disbursed in each of the JCS, TBTI

            and Geebo financial accounts during the period December 1, 2011 through

            April 30, 2014.14 The Bank Reconstruction is part of the basis for the opinions

            set forth in the Receivership Expert Report.                      KM also utilized the Bank

            Reconstruction as part of the basis for the opinions set forth in this report.

                     KM continues to update the Bank Reconstruction as additional

            information is obtained from the financial institutions or other sources.

                     KM also reviewed and analyzed the JCS and TBTI investor files and

            incorporated data from those files into the Bank Reconstruction.

                     JCS maintained merchant accounts to process investor credit card

            transactions. Since the issuance of the Receivership Expert Report by KM,

            additional records were obtained from the merchant account and credit card

            issuing financial institutions. KM has analyzed those records and incorporated




   14
      KM included the activity in Geebo bank accounts within the Bank Reconstruction because it is a related party,
   under the Receivership and both JCS and TBTI transferred funds into the Geebo bank accounts.
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          additional information into the Bank Reconstruction used for the purpose of

          this report.



                   The results of the current Bank Reconstruction are summarized in

          Table 1:

                                     Table 1
            JCS, TBTI and Geebo - Combined Sources and Uses of Funds
                  Type                   Sources         %          Uses           %            Net
    Investors                             80,744,262   81.42%       49,794,596   52.10%        30,949,666
    ATM Business                          15,778,656   15.91%       15,606,608   16.33%           172,048
    Insiders/Related Parties              1,147,724     1.16%       11,845,321   12.39%       (10,697,597)
    Operating & Facilities                  381,861    0.39%         8,549,717    8.95%        (8,167,856)
    Commissions                                  -      0.00%        6,429,356    6.73%        (6,429,356)
    Credit Cards                                 -      0.00%        2,101,948    2.20%        (2,101,948)
    Further Investigation Required               -      0.00%           90,111    0.09%            (90,111)
    Real Estate & Rent Related                6,695     0.01%          461,130    0.48%          (454,435)
    Professional Fees                            -      0.00%          435,657    0.46%          (435,657)
    Geebo Territory Purchases             1,084,000    1.09%           260,000   0.27%            824,000
    Advertising                              21,233    0.02%               -     0.00%           21,233
                                     $    99,164,431            $   95,574,444            $    3,589,987



    Beginning Balance                        41,166    0.04%               -     0.00%          41,166
    Transfer to Receiver                                                                    (3,631,153)
    Net Remaining Balance                                                                 $         -




   VI.    Analysis

          A. The JCS/TBTI Ponzi Scheme

                   As further described in the Receivership Expert Report, from

            approximately December 2011 to April 2014, JCS and TBTI operated a Ponzi

            scheme by marketing and selling virtual concierge machines (“VCMs”) to
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             investors promising them large returns. The JCS and TBTI business model

             was structured to generate revenue through advertising sales by placing

             VCMs in various venues. The JCS and TBTI investor contracts contained

             language that the advertising revenue would fund promised returns of $300

             per month for 36-48 months.

                     JCS and TBTI raised approximately $80.7 million from investors by

            selling more than 22,500 VCMs.15 The JCS/TBTI business model would have

            needed to generate a minimum of $10,800 of advertising revenue per VCM

            machine sold based on a $300 monthly return for a 36 month period. The

            actual advertising revenue received by JCS and TBTI was approximately

            $21,000 over its entire duration.

                       JCS and TBTI paid investors approximately $49.8 million.16 The only

            source available to repay investors this sum was by utilizing moneys obtained

            from new or existing investors.

                       Subsequent to the discovery of the Ponzi scheme and the

            appointment of the Receiver, many investors who paid for their investment

            with a credit card requested a chargeback through their credit card company.

            Based on information obtained from the merchant processing companies,

            credit card refunds issued to investors for chargeback requests totaled

            approximately $9.6 million.17




   15 See Section VI(B) for further discussion regarding the investor funds.
   16
      Id.
   17 Based on information received in January 2015.


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            B. Number of JCS and TBTI Investors

                       KM reviewed the investor files obtained from the JCS office and the

            investor files produced by TBTI to determine the entity listed on the investors’

            contracts. The investor files contain contracts and other supporting

            information. Using data from the investor files and Bank Reconstruction, KM

            compiled a list of each investor group based on the entity the investor

            contracted with and summarized the investor data in Table 2: 18



                               Table 2 - Summary of Investor Activity
            Inflows                 TBTI             JCS         JCS/TBTI              Other           Total
    Invested by Credit Card    $ 13,640,035     $ 1,692,631      $ 630,105         $   1,617,814   $   17,580,585
    Invested by Check/Other        50,440,687       11,387,440       1,014,300           321,249       63,163,676
                               $ 64,080,723     $ 13,080,071     $1,644,405        $   1,939,063   $   80,744,262
    No. of Investors                    1,534              280                 9                            1,823
    No. of VCMs                       18,570             3,537            440                             22,547


           Outflows                 TBTI             JCS         JCS/TBTI              Other           Total
    Returned by Credit Card    $     114,424    $      15,000    $         -       $     225,370   $     354,794
    Returned by Check/Other        37,388,761        9,924,250       2,113,891            12,900       49,439,802
                               $ 37,503,185     $ 9,939,250      $2,113,891        $     238,270   $   49,794,596


               Net             $ 26,577,538     $ 3,140,821      $ (469,486) $         1,700,793   $   30,949,666




                       Total funds collected from investors were approximately $80.7 million

            of which approximately $64.1 million was from at least 1,500 TBTI Investors

            and approximately $13.1 million was from at least 280 JCS Investors. Nine

            investors who appear to have contracted with both JCS and TBTI invested



   18
      The Bank Reconstruction and the data in Table 2 does not include any chargebacks that investors sought from
   their credit card companies if the chargeback transaction did not flow through the JCS bank accounts.
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            approximately $1.6 million. There are approximately $1.9 million in inflows

            that KM has not yet attributed to a specific investor.19

                     Based on a review of the investor files and the Bank Reconstruction,

            KM determined at least 22,500 VCMs were sold to investors of which at least

            18,500 were sold to TBTI Investors and at least 3,500 were sold to JCS

            Investors.



            C. Investors Paying With Credit Card

                     Many parties that contracted with JCS or TBTI to purchase VCMs used

            a credit card to pay for their investment. The credit card funds were collected

            by merchant processing companies and deposited into a JCS bank account

            regardless of whether the investor was a JCS Investor or a TBTI Investor.20

                      Based on the Bank Reconstruction prepared to date, KM has

            determined that JCS collected approximately $17.6 million from investors who

            paid via credit card.21 This amount includes approximately $13.6 million from

            TBTI Investors, approximately $1.7 million from JCS Investors and

            approximately $630,000 from investors who contracted with both JCS and

            TBTI.




   19 KM continues to review document productions received from financial institutions including the merchant

   accounts and credit card companies. In connection with that process, KM has identified approximately $1.7
   million in credit card receipts within investor files that have not yet been attributed to an inflow into the JCS
   merchant account. The investigation is ongoing.
   20 Id.
   21
      Of this amount, $15.9 million represents inflows from credit card merchant accounts that KM was able to
   attribute to a specific investor, to date.
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            D. Investor Funds used for Personal Benefit

                    KM’s analysis revealed that the principals of JCS and TBTI utilized

           investor funds for their personal benefit.

                    1. Signore - Transfers for Personal Benefit

                    Table 3 is a summary of the sources and uses of funds in the JCS bank

           accounts from the Bank Reconstruction:

                                               Table 3
                                   JCS - Sources and Uses of Funds
                  Type                        Sources           %            Uses              %                Net
    Transfers to/from TBTI                $   39,735,977     56.62%     $    41,982,017     62.03%     $    (2,246,040)
    Investors                                 29,725,284     42.36%          11,222,639     16.58%         18,502,645
    Operating & Facilities22                     323,323     0.46%            6,879,797     10.17%         (6,556,474)
    Insiders/Related Parties                     158,733     0.23%            3,294,783      4.87%          (3,136,050)
    Credit Cards                                     -       0.00%            2,028,314     3.00%          (2,028,314)
    Commissions                                      -       0.00%            1,032,601     1.53%          (1,032,601)
    Transfers to/from Geebo                          -       0.00%             723,100      1.07%             (723,100)
    Real Estate & Rent Related                    6,695      0.01%             295,529      0.44%             (288,834)
    Professional Fees                                -       0.00%             183,812      0.27%             (183,812)
    Further Investigation Required                    -       0.00%              32,410      0.05%               (32,410)
    Geebo Territory Purchases                    210,000      0.30%                   -      0.00%               210,000
    Advertising                                   21,233      0.03%                 -        0.00%                21,233
                                          $    70,181,244               $    67,675,003                $        2,506,241



    Beginning Balance                              8,030      0.01%                   -      0.00%              8,030
    Transfer to Receiver                                                                                    (2,514,272)
    Net Remaining Balance                                                                              $           -




   22
     “Operating and Facilities” inflows includes $250,000 in funds refunded by Blue Water Ventures, LLC for
   advertising expenses, approximately $17,000 from African Bank Investments and other miscellaneous refunds.
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                    The overwhelming majority (98.98%) of funds available to JCS to pay

           expenses for the benefit of Signore23 were investor funds. Among others,

           JCS24 made the following transfers aggregating approximately $2.5 million for

           the benefit of Signore:

                        Received $1.2 million in payroll and payments from JCS.25

                        Withdrew approximately $430,000 in cash from the JCS bank

                         accounts.

                        Purchased of a 4,400 square foot residence with five bedrooms and

                         four and half baths for $535,000 located in Palm Beach Gardens,

                         Florida.26

                        Purchased a vacant parcel of land in Palm Beach County for

                         $115,000.

                        Purchased a 1986 Rolls Royce for $26,000 and spent $60,500 in

                         custom upgrades.27

                        Purchased thirteen, one-ounce gold bars for a total of $25,000.

                         Made purchases from Jupiter Jewelry totaling more than $13,000.

                        Spent over $65,000 in travel to the following destinations: Italy,

                         Sandals St. Lucia, Los Angeles and the Bahamas. Joseph and




   23 Joseph Signore and/or Laura Signore.
   24 In some instances other entities made the transfers with funds received from JCS or TBTI. See footnote No.
   25, 26 and 27.
   25 Approximately $216,250 of this amount was paid through an external payroll processing company. The

   remaining $1 million were transfers to Joe Signore or Laura Signore from JCS.
   26 The total purchase price of the home was $550,000. Of this amount, $200,000 of the purchase price was funded

   directly by JCS and $225,000 was funded by Laura Signore with funds received from JCS. The remaining
   $110,000 was funded by JOLA with funds it had received from JCS and TBTI.
   27
      The purchase was funded directly by JCS and the upgrades were funded by JOLA with funds received from
   JCS or TBTI.
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                        Laura spent at least $23,400 on travel to Italy in the summer of 2013

                        visiting Venice, Florence and Rome. The Signore’s travel to the

                        Caribbean cost approximately $30,000 and included: $14,500 for St.

                        Lucia Sandals, $12,000 for the Bahamas, and $3,300 on a cruise.

                        The Signore’s also visited Los Angeles and spent $11,700 which

                        included airfare and a stay at the Beverly Hills Hotel.



                 2. Schumack – Transfer for Personal Benefit

                 Table 4 is a summary of the sources and uses of funds in the TBTI bank

         accounts from the Bank Reconstruction:

                                                   Table 4
                                      TBTI - Sources and Uses of Funds
                        Type                  Sources         %           Uses          %            Net
         Transfers to/from JCS            $     41,982,017   38.19%   $   39,735,977   36.14%   $    2,246,040
         Investors                              51,018,977   46.42%       38,570,457   35.08%       12,448,520
         ATM Business                           15,778,656   14.35%       15,606,608   14.19%         172,048
         Insiders/Related Parties                 988,064    0.90%         8,550,537   7.78%        (7,562,473)
         Commissions                                    -    0.00%         5,394,255   4.91%        (5,394,255)
         Operating & Facilities                    37,599    0.03%         1,454,379   1.32%        (1,416,780)
         Professional Fees                              -    0.00%          251,843    0.23%          (251,843)
         Real Estate & Rent Related                     -    0.00%          165,601    0.15%          (165,601)
         Transfers to/from Geebo                   22,500    0.02%           90,000    0.08%           (67,500)
         Credit Cards                                   -    0.00%           73,592    0.07%           (73,592)
         Further Investigation Required                 -    0.00%           57,700    0.05%           (57,700)
         Geebo Territory Purchases                  90,000   0.08%              -      0.00%            90,000
                                          $    109,917,813            $ 109,950,949             $      (33,136)



         Beginning Balance                         33,136    0.03%               -     0.00%           33,136
         Net Remaining Balance                                                                  $         -




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                    The primary source of funds available to TBTI to pay expenses for the

           benefit of Schumack28 were investor funds. Among others, TBTI29 made the

           following transfers aggregating approximately $4.4 million for the benefit of

           Schumack:

                            Purchased a 7,400 square foot residence with five bedrooms

                             and seven baths for $1.6 million in Coconut Creek, Florida.30

                            Paid approximately $720,000 to rent an ocean front home for a

                             period of approximately 12 months (equates to $60,000 per

                             month in rent excluding sales tax).

                            Invested $400,000 in a pension plan.31

                            Disbursed $500,000 to the United States Treasury to pay for

                             Schumack’s personal income taxes.

                            Transferred over $1.2 million for an investment in a separate

                             company called Fuel Foods.32




   28 Paul Schumack and/or Christine Schumack.
   29
      In some instances other entities made the transfers with funds received from TBTI. See footnotes 30, 31 and
   32.
   30 TBTI funded $165,000 of the purchase price and PSCS funded the balance of $1.495 million with funds received

   from TBTI.
   31 The pension plan was funded by PSCS with funds it had a received from W.C.F.S., Inc. (“WCFS”), a related

   entity. WCFS received the funds from TBTI.
   32
      Of this amount, approximately $800,000 was funded directly by TBTI and $400,000 was funded by PSCS with
   funds it had received from WCFS. WCFS received the funds from TBTI.
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                                                                                                                     Exhibit A

                                              United States of America, Plaintiff,
                                                              v.
                                              Joseph Signore, et al, Defendants
                                                Case No.: 14-80081-CR-Hurley
                                                 United States District Court
                                                 Southern District of Florida

                                                   Documents Utilized

  Item                                                           Description
    1    Bank Records (Exhibit A.1)

   2     American Express Credit Card Statements (Exhibit A.2)

   3     QuickBooks Records for TBTI

   4     Check Registers from JCS Checksoft Software

   5     Merchant Activity Data obtained from NMI Gateway

   6     Investor Files - JCS
   7     Investor Files - TBTI
   8     Merchant Account Statements and related documents produced by Signapay (merchant company)
   9     Merchant Account Statements and related support documents produced by First Data (merchant company)

   10    JCS Investor Database

   11    Accounts Payable Files

   12    Investor Support Documents produced by investors

   13    Amended Order Appointing Receiver. [D.E. 19]


   14    Receiver’s Emergency Motion to Expand Receivership to include My Gee Bo, Inc. with Incorporated Memorandum of Law
         [D.E. 23]
   15    Order Granting Receiver’s Emergency Motion to Expand Receivership to include My Gee Bo, Inc. [D.E. 26]

   16    Declaration of James D. Sallah, Esq. as Receiver for JCS Enterprises, Inc. d/b/a JCS Enterprises Services Inc., T.B.T.I,
         Inc., and My Gee Bo, Inc. [D.E. 114-1]
   17    Order Granting Receiver’s Motion to Expand Receivership to Include JOLA Enterprise Inc. and PSCS Holdings, LLC [D.E.
         114-2]
   18    Florida Department of State Division of Corporations website, www.sunbiz.org
   19    Excel Corporation Invoice No. DUKE RRR168 dated 3/11/13 and Vehicle Transfer and Reassignment Form for Rolls
         Royce purchase

   20    Motor Vehicle Report for VIN ending in No. 5517 (Rolls Royce)
   21    Estimate from M.C.T., Inc. for Rolls Royce upgrades
   22    Palm Beach County Property Appraiser records for 14161 64th Drive North Palm Beach Gardens and Parcel No. ending
         in 7080.

   23    Northwest Territorial Mint, LLC Invoice for Gold Bars
   24    Broward County Property Appraiser records for 7725 NW 39th Avenue Coconut Creek, FL
   25    Form 1040 U.S. Individual Income Tax Return 2012 for Paul and Christine Schumack
   26    Asset Mark Trust Company account statements for TBTI, Inc. account.




                                       SEE EXPERT REPORT DATED SEPTEMBER 3, 2015
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                                                United States of America, Plaintiff,
                                                                 v.
                                                Joseph Signore, et al, Defendants
                                                    Case No.: 14-800081-CR-Hurley
                                                     United States District Court
                                                     Southern District of Florida

                                           Bank Records Utilized For This Report

                                                                                       Account
                                                                                                   Statement    Statement End
                 Bank Account Name                           Name of Bank               Number
                                                                                                   Start Date        Date
                                                                                       Ending In
T.B.T.I. Inc.                                         Bank of America                    2038       12/01/11      04/30/14

T.B.T.I. Inc.                                         Bank of America                    4783       12/01/11      03/31/14

T.B.T.I. Inc.                                         Bank of America                    4820       12/01/11      03/31/14

JCS Enterprises Inc.                                  BB&T                               5654       07/31/13      04/30/14

My Gee Bo Inc                                         BB&T                               1024       08/28/13      11/07/13

JCS Enterprises, Inc. / Joseph Signore Pres Laura     Scottrade                          6374       10/01/13      04/30/14
Signore VP
My Gee Bo Inc Joseph Signore Pres                     Scottrade                          3916       10/01/13      09/30/14

JCS Enterprises Services Inc                          Seacoast National Bank             1921       10/25/13      04/30/14

JCS Enterprises Services Inc                          Seacoast National Bank             2061       10/25/13      04/30/14

JCS Enterprises Services Inc                          Seacoast National Bank             4001       12/26/13      04/30/14

JCS Enterprises Services Inc "M" Account              Seacoast National Bank             2141       10/25/13      04/30/14

JCS Enterprises Inc                                   SunTrust                           3602       09/10/13      10/31/13

JCS Enterprises Inc Manufacturer                      SunTrust                           3610       09/10/13      10/31/13

My Gee Bo Inc                                         SunTrust                           3636       09/10/13      11/06/13

JCS Enterprises                                       TD Bank                            8571       01/25/12      12/30/13

JCS Enterprises                                       TD Bank                            6824       10/15/10      01/27/12

JCS Enterprises                                       TD Bank                            6688       11/03/10      02/29/12

JCS Enterprises Geebo Acct                            TD Bank                            3894       03/01/13      09/09/13

JCS Enterprises Manufacturing Account                 TD Bank                            8109       12/12/11      09/10/13

TBTI Inc                                              TD Bank                            4901       07/03/12      04/30/14

PSCS Holdings, LLC                                    Bank of America                    6687       09/19/13      03/17/14

W.C.F.S., Inc.                                        Bank of America                    2268       10/01/13      01/31/14

JOLA Enterprises, Inc.                                Regions Bank                       0586       11/06/13      09/30/14

JOLA Enterprises, Inc.                                Regions Bank                       0589       10/16/13      04/30/14

JOLA Enterprises, Inc.                                SunTrust                           3628       09/10/13      10/31/13

JOLA Enterprises, Inc.                                TD Bank                            4115       04/01/13      09/30/13



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                                                                                                     Exhibit A.2

                                            United States of America, Plaintiff,
                                                            v.
                                            Joseph Signore, et al, Defendants
                                              Case No. 14-80081-CR-Hurley
                                               United States District Court
                                               Southern District of Florida

                                 Credit Card Documents Utilized For This Report


                                                                       Account Number
            Bank Account Name                      Name of Bank                         Start Date   End Date
                                                                          Ending In

JCS Enterprises Inc / Joseph Signore           American Express       5-66003           09/01/13      12/31/13

JCS Enterprises Inc / Joseph Signore           American Express       5-65005           01/01/13      08/31/13

JCS Enterprises Inc / Joseph Signore           American Express       5-64008           09/01/12      12/31/12

JCS Enterprises Inc / Joseph Signore           American Express       5-63000           02/01/12      08/31/12

JCS Enterprises Inc / Joseph Signore           American Express       5-62010           01/01/11      01/01/12

JCS Enterprises Inc / Malcolm C Swasey         American Express       5-62002           01/01/11      01/01/12


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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                   Case No.: 14-CV-80468-MIDDLEBROOKS


   SECURITIES AND EXCHANGE COMMISSION,

                           Plaintiff,
   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK II,

                           Defendants.
   _________________________________________/




                              EXPERT REPORT

            Submitted by Melissa Davis, CPA, CIRA, CFE

                               January 21, 2015
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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                   Case No.: 14-CV-80468-MIDDLEBROOKS


   SECURITIES AND EXCHANGE COMMISSION

                           Plaintiff,
   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK II,

                           Defendants.
   __________________________________________/



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         REPORT

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         TBTI ATM Activity                                              E
         Geebo Bank Activity                                            F
         JCS to TBTI to Investors                                       G



         QUALIFICATIONS

         Resume of Melissa Davis
         Case Experience
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                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA
                          Case No.: 14-CV-80468-MIDDLEBROOKS


   SECURITIES AND EXCHANGE COMMISSION

                                      Plaintiff,
   v.

   JCS ENTERPRISES, INC. d/b/a JCS
   ENTERPRISES SERVICES, INC., T.B.T.I., INC.,
   JOSEPH SIGNORE, and PAUL L. SCHUMACK, II

                           Defendants.
   _________________________________________/


                                           EXPERT REPORT

   I.      OVERVIEW

                    James D. Sallah, Esq. was appointed as Receiver (“Receiver”) of JCS

           Enterprises, Inc. d/b/a JCS Enterprises Services, Inc. (“JCS”) and T.B.T.I.,

           Inc. ("TBTI") (collectively “the Receivership”) on April 7, 2014.1 The Receiver

           filed a motion to expand the Receivership to include My Gee Bo, Inc.

           (“Geebo”)2 and the Court entered an order granting the motion on April 11,

           2014.3

                    The     Receiver       retained      KapilaMukamal,          LLP     as    his    forensic

           accountants. In the sections that follow, Melissa Davis and KapilaMukamal

           (collectively “Davis” or “KM”) set forth certain opinions about JCS, TBTI and

           Geebo (“Receivership Entities”). KM’s opinions are based on an analysis of

   1
     D.E.19.
   2
     D.E. 23.
   3
     D.E. 26. Per D.E. 114, the Court also expanded the Receivership to include JOLA Enterprises, Inc. and
   PSCS Holdings, LLC.
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         the documents enumerated at Exhibit A as of the date of this report.

         Additional documents and information may be made available or reviewed,

         and certain facts currently not available may come to light, which may impact

         the conclusions and opinions reflected herein. Furthermore, the forensic

         investigation and discovery is still in process and is not completed.

         Continued investigation may reveal information that has an impact on the

         analysis and findings presented in this report.

                This report was prepared solely for use in this matter or for use at the

         discretion of the Receiver. The information and conclusions reached should

         not be relied upon by any other person nor should any statement in this

         report be used for any other purpose without written consent from KM or

         without written consent from the Receiver.



   II.   SCOPE

                The Receiver has asked KM to opine on:

                a. Whether or not JCS and TBTI operated a Ponzi scheme;

                b. The amount of funds invested into the Ponzi scheme;

                c. The amount of funds lost by investors in the Ponzi scheme;

                d. Whether or not the revenue generated from advertising was
                   sufficient for JCS and TBTI to pay all investors the monthly returns;

                e. Whether or not any TBTI investor purchases were deposited into
                   JCS bank accounts;

                f. The source of funds available to Geebo;

                g. Whether or not JCS transferred funds to TBTI that TBTI used to
                   make the monthly return payments to investors, and

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                h. Whether or not revenues generated by TBTI's ATM servicing
                   business were sufficient for TBTI to pay all investors the monthly
                   returns.



   III.   OPINIONS

          KM’s opinions are as follows:

                a. From December 2011 to approximately April 2014, JCS and TBTI
                   operated a Ponzi scheme. They paid old investors their returns
                   utilizing moneys obtained from new investors;

                b. The total funds JCS and TBTI raised from investors was
                   approximately $80.8 million;

                c. The investors lost at least $31.1 million;

                d. The revenue generated from advertising was insufficient for JCS
                   and TBTI to pay all investors the monthly returns;

                e. Certain investor purchases were made through credit card
                   merchant accounts in the name of JCS. These purchases
                   included both JCS and TBTI investor transactions;

                f. Funds that flowed into the Geebo financial accounts included
                   funds that were derived from JCS and TBTI;

                g. JCS transferred funds to TBTI that TBTI used to make monthly
                   payments to investors, and

                h. Revenues generated by TBTI's ATM servicing business during the
                   time of the Ponzi scheme were not sufficient for TBTI to pay all
                   investors the monthly returns.




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   IV.     BACKGROUND

           JCS Enterprises, Inc. d/b/a JCS Enterprises Services, Inc.

                      JCS was incorporated on October 12, 2010 as a Delaware

           Corporation. On June 29, 2011, JCS became Foreign Profit Corporation for

           purposes of transacting business in Florida. Joseph Signore and Laura

           Signore       a/k/a   Laura   Grande   were   President   and   Vice   President,

           respectively.4

           My Gee Bo, Inc.

                      Geebo was incorporated on April 2, 2013 under the laws of the State

           of Florida. Joseph Signore and Laura Signore were President and Vice

           President, respectively.5

           T.B.T.I., Inc

                      TBTI was incorporated on August 13, 2001 under the laws of the

           State of Florida. Paul Schumack and Christine Schumack were President

           and Secretary, respectively. On September 20, 2013, an amendment was

           filed to change Christine Schumack to President, change Paul Schumack to

           Vice President, add Crystal Miller as Treasurer, and add Chad Wright as

           Secretary.6




   4
     www.sunbiz.org
   5
     Id.
   6
     Id.
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           JOLA Enterprises, Inc.

                    JOLA Enterprises Inc (“JOLA”) was incorporated on February 25,

           2013 under the laws of the State of Florida. Joseph Signore was titled

           President and Director and Laura Signore was titled Treasurer and

           Secretary. 7

           PSCS Holdings, LLC

                    PSCS Holdings, LLC (“PSCS”) was incorporated on August 5, 2013

           under the laws of the State of Florida. Paul Schumack and Christine

           Schumack were both titled as managing officers. 8



   V.      METHODOLOGY


           A.       Bank Transactions Reconstruction

                    In order to determine the nature of the transactions of the

           Receivership Entities, Davis, assisted by other professionals within KM,

           prepared a detailed reconstruction of the funds received and disbursed in

           each entity's financial accounts during the period December 1, 2011 through

           April 30, 2014 ("Relevant Time Period"). The reconstruction process included

           the following tasks:



                       KM reviewed and analyzed the electronic accounting records

                        maintained by JCS and TBTI;9


   7
     Id.
   8
     Id.
   9
     TBTI and JCS utilized QuickBooks accounting software. JCS also utilized Check Soft accounting software.
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                           KM reviewed the JCS and Geebo banking records found in the

                            JCS leased premises;

                           KM reviewed the TBTI banking records produced by Christine

                            Schumack;

                           KM provided data to the Receiver regarding missing financial

                            information. The Receiver issued subpoenas to the financial

                            institutions to obtain the missing financial records, and

                           Once the financial information was obtained from the financial

                            institutions, KM analyzed the banking records which included bank

                            statements, deposit tickets and deposit support, wire transfer

                            advices and cancelled checks.                      Exhibit A.1 displays the

                            Receivership Entity bank accounts included in the reconstruction

                            process.



                       KM prepared a combined10 reconstruction of the funds received and

              disbursed by the Receivership Entities during the Relevant Time Period on a

              transactional        level    basis      (the    “Bank       Reconstruction”).         The   Bank

              Reconstruction encompassed over 45,000 transactions. The results are

              summarized at Exhibit B and in Table 1, below.




   10
        Transactions totaling $116,425,216 that occurred between the Receivership Entities net to zero.
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   Table 1

                                           Sources and Uses of Funds
                   Type                         Sources               %             Uses              %                Net
              11
    Investors                                      80,840,553      81.41%          49,752,796      52.00%            31,087,757
    ATM Business                                   15,773,111      15.92%          15,601,809      16.31%               171,302
    Insiders/Related Parties                       1,157,381        1.17%          11,715,895      12.25%           (10,558,514)
    Operating & Facilities                           390,243       0.39%            8,541,131       8.92%            (8,150,888)
    Commissions                                           -         0.00%           6,429,356       6.72%            (6,429,356)
    Credit Cards                                          -         0.00%           2,101,948       2.20%            (2,101,948)
    Further Investigation Required                        -         0.00%             466,121       0.49%              (466,121)
    Real Estate & Rent Related                            -        0.00%              436,131      0.46%               (436,131)
    Professional Fees                                      -        0.00%             371,257       0.39%              (371,257)
    Geebo Territory Purchases                      1,084,000       1.09%              260,000      0.27%                824,000
    Advertising                                       21,143        0.02%                 -         0.00%                 21,143
                                            $      99,266,431                  $   95,676,444                   $      3,589,987



    Beginning Balance                                  41,166       0.04%                    -      0.00%             41,166
    Transfer to Receiver12                                                                                        (3,631,153)
    Net Remaining Balance                                                                                       $         -




   VI.      ANALYSIS

            A.       Ponzi Scheme Defined

                     The Securities and Exchange Commission (“SEC”) defines a Ponzi

            scheme as follows:13




   11
      KM’s calculations are based on the transactions in the bank reconstruction and a review of the investor files.
   To date, there is approximately $4.8 million in receipts where KM had made the assumption they are investor
   related and has not identified the name of the investor due to insufficient information provided by financial
   institutions. The disbursements include $240,370 in chargeback transactions where KM has not identified the
   investor name due to insufficient data provided by the financial institution.
   12
      Amount of funds transferred to the Receiver on or before April 29, 2014.
   13
      http://www.sec.gov/answers/ponzi.htm
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                    “A Ponzi scheme is an investment fraud that involves the payment of
                    purported returns to existing investors from funds contributed by new
                    investors. Ponzi scheme organizers often solicit new investors by
                    promising to invest funds in opportunities claimed to generate high
                    returns with little or no risk. In many Ponzi schemes, the fraudsters focus
                    on attracting new money to make promised payments to earlier-stage
                    investors to create the false appearance that investors are profiting from
                    a legitimate business.”

           The Association of Certified Fraud Examiners - Fraud Examiner's Manual -

           2014 International Edition defines a Ponzi scheme as follows:

                            “A Ponzi is generally defined as an illegal business practice in
                    which new investors' money is used to make payments to earlier
                    investors. The investment opportunity is typically presented with the
                    promise of uncommonly high returns. A simple investment scam rakes
                    in as much money as possible and then disappears, whereas a Ponzi
                    scheme stays in business by turning some of the money back into the
                    game.......Payoffs are made from the pool of investor funds; the rest is
                    siphoned into operators' pockets."14




           Ponzi schemes share certain common characteristics:

               The purported business underlying the investment scheme depends on
                the inflow of external investor money;

               The investor money is not used according to the stated business
                purpose. Instead, the investor money is used to pay returns to earlier
                investors, to often fund the perpetrator’s lifestyle, or for some other
                illegitimate purpose;

               The purported business enterprise underlying the scheme lacks sufficient
                profit to provide the returns and, therefore, depends on a continually
                increasing inflow of new investor money, and

               Ponzi schemes often involve a charismatic and confident central
                promoter who successfully swindles investors.




   14
      Association of Certified Fraud Examiners, Fraud Examiners Manual 2014 International Edition, Financial
   Transactions & Fraud Schemes, Consumer Fraud, Ponzi and Pyramid Schemes, 1.1224-1.225.
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            B.       The JCS & TBTI Ponzi Scheme

                     JCS and TBTI marketed and sold virtual concierge machines

            (“VCMs”) to investors promising them large returns. The VCMs were

            interactive ATM-like machines that enabled businesses to advertise their

            products and services.              VCMs were to be placed in hotels, airports, or

            stadiums and would generate advertising revenue which would finance the

            guaranteed rate of return.

                      The VCM sales were documented with either a JCS “Virtual

             Concierge Buyer Program Agreement” or TBTI’s “Virtual Concierge Investor

             Contract.” The agreements were similar in content:

                                  VCM purchase price: Investors purchased each machine
                                   for a price ranging from $2,600 - $4,500.15

                                  Investor Return: Investors were to be paid a $300 per
                                   month return for 36-48 months per machine. This would
                                   equate to investor profitability ranging from $6,300 to
                                   $11,800 or a 140% – 450% return per VCM.16


                     The average cost of the VCM investment was between $2,600 and

            $4,500 per machine.17 Investors were provided with two options to invest:

            the "passive program" or "aggressive" program.18                With the “passive

            program”, JCS purportedly handled the advertisements, software, hardware


   15
      Based on KM’s analysis of the investor files.
   16
      Id.
   17
      Id.
   18
      DE No. 4.
   Page 9
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           and location of the VCM. With the “aggressive program” investors had to

           place the VCMs themselves.19 Most investors chose the passive program,

           which purportedly provided a monthly return of $300 per month for a period

           of generally between 36 and 48 months.20

                    TBTI investor contracts stated:

                    “If for whatever reason, the Investor can sell back to the
                    Provider the VC equipment at any time for their initial
                    purchase price.” 21


                    Advertising Revenue

                    The JCS and TBTI business model was structured to generate

           revenue through advertising sales by placing VCMs in various venues. The

           JCS investor contracts stated:

                    “Advertising revenues will be paid as follows: The advertising
                    revenue check will be mailed to the Buyer on the 15th of the
                    following month, considering that the funds are available
                    from the sale to Seller and for each wall unit purchased
                    Buyer will receive from Seller $300.00 per month in
                    advertising revenue for 36 consecutive months.” 22


                    TBTI investor contracts contained similar language. As indicated to

           investors, the advertising revenue would fund their return of $300 per month

           for 36-48 months. According to a JCS 6 Month Virtual Concierge Advertising

           Contract Order Form (“Advertising Contract”) found in the JCS records,




   19
      Id.
   20
      Based on KM’s analysis of investor files.
   21
      TBTI VCM Contract - Section I “Concept of the Operation”.
   22
      JCS VCM Contract - Section 4 “Unit Price and Compensation to Buyer”.
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            businesses could select from five different advertising packages priced from

            $15 to $975.23


                     Ponzi Scheme Attributes



                     Initial receipts from investors began in December 2011. During the

            period analyzed, JCS and TBTI raised approximately $80.8 million from at

            least 1,800 investors by selling more than 22,500 VCMs.24

                     Although more than 22,500 VCMs were sold to investors, it appears

            that less than 100 operating VCMs were actually placed.25 This resulted in

            an insignificant amount of revenue that was actually raised from the

            operating VCMs to repay investors. Instead, as is consistent with all Ponzi

            schemes, new investor funds were used to pay older investors and here,

            money was funneled out of the scheme for the benefit of insiders. Moneys

            were also used to fund the costs related to Geebo.

                     Advertising revenue was the alleged source from which the investors

            were to be repaid. At a minimum, the JCS/TBTI business model would need

            to generate a minimum of $10,800 per VCM machine sold based on a $300

            return for a 36 month period.




   23
      Based on a typical JCS 6 Month Virtual Concierge Advertising Contract Order Form found within the records
   of JCS.
   24
      KM’s calculations are based on the transactions in the bank reconstruction and a review of the investor files.
   To date, there is approximately $4.8 million in receipts where KM has not identified the name of the investor or
   the number of units purchased due to insufficient information provided by financial institutions. JCS and TBTI’s
   internal records reflected the sale of approximately 25,000 VCMs to approximately 1,800 investors. The
   Receiver’s investigation is ongoing.
   25
      D.E. No 107-1.
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                     Based on the Bank Reconstruction, actual advertising revenue

          received by JCS and TBTI was $21,14326 during the entirety of the scheme.27

          The scheme had attributes of a Ponzi scheme which indicate there was an

          insignificant legitimate business operation and the investment scheme served

          the primary purpose of benefiting insiders.



            C.       Investor Liability

                     Total funds collected from investors was approximately $80.8 million,

            total funds paid to investors was approximately $49.7 million resulting in net

            investor loss of at least $31.1 million.28 (Exhibit C)                   As enumerated in the

            preceding sections, the funds disbursed by JCS and TBTI to investors far

            exceeded the few identifiable sources of revenue generated by the entities.

            Therefore, JCS and TBTI lacked funds to repay investors and consequently

            depended on funds from new investors in order to repay old investors.

                     JCS and TBTI’s purported source of funds to pay investors was the

            advertising      revenue       received       from     VCM       advertisers.          Exhibit      D

            demonstrates that $49.7 million was paid to investors during the Relevant

            Time Period. Based on the documents reviewed to date, it appears that the

            first advertising revenue was not collected until May 2012, after almost $1.9

            million had been collected from investors and approximately $339,000 had

   26
      This amount includes $10,836 in transactions where KM was not able to identify the payor due to insufficient
   data provided by the financial institution. KM made the assumption that the transaction related to advertising
   revenue.
   27
      KM is aware that in his affidavit (D.E. 4), Thomas Donelon, former CPA for JCS indicated that he was
   provided supporting documentation for advertising revenue totaling $39,425 for 2012. KM did not identify this
   amount of advertising revenue being deposited into the JCS bank accounts.
   28
      This analysis is presented on an aggregate basis. Actual losses incurred by individual investors may exceed
   $31 million since some investors received more from the scheme than they invested.
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         been repaid to investors. Thus demonstrating, new investor funds were

         utilized to repay old investors as no advertising revenue had been collected

         by JCS from December 2011 through April 2012.

                JCS and TBTI sold more than 22,500 units throughout the Relevant

         Time Period. Each unit was to yield a return of $300 per month per machine

         for 36-48 months. Based upon the conservative calculation that the payment

         stream was limited to 36 months, Exhibit D demonstrates more than $243.4

         million would have been due to the investors.      $49.7 million was actually

         paid back to investors, resulting in a total outstanding obligation of

         approximately $193.7 million.




         D.     Insider and Related Party Transactions

                Funds paid to insiders and related parties of approximately $11.7

         million in aggregate further depleted the funds available to repay investors.

         During the Relevant Time Period, the Receivership Entities disbursed the

         aggregate funds directly to, or for the benefit of insiders and related parties

         as follows:




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   Table 2

                                       Payee                                  Amount
                 W.C.F.S. Inc                                            $         2,761,100
                 Schumack, Paul & Christine                                        1,500,000
                 JOLA Enterprises                                                    956,975
                 Signore, Laura                                                      811,754
                 Signore, Joseph                                                     220,162
                 Hipp, Craig29                                                       153,660
                 Fiahlo, Wallace                                                      87,400
                 Grande, Matthew                                                      34,425
                 PSCS Holdings LLC                                                    25,000
                 Schumack, Christine                                                  22,510
                 Wright, Crystal                                                      16,400
                 Wright, Chad                                                          3,000
                 Fiahlo, Rebecka                                                       2,756
                 Real Estate Purchases                                             1,205,440
                 Personal Expenses                                                 1,110,218
                 Fuel Foods Inc                                                      779,216
                 Cash                                                                533,085
                 Department of the Treasury                                          500,000
                 Automobile/Boat Related Expenses                                    426,197
                 Personal Home                                                       316,665
                 Shareholders                                                        138,200
                 Charity / Donation                                                   86,732
                 Gold Bullion                                                         25,000
                 Total                                                           $11,715,895




           E.       Other Sources of Funds to the Receivership Entities

                    1.      TBTI's ATM Business

                            Prior to the commencement of this Ponzi scheme, TBTI

           conducted an ATM servicing business. Although TBTI commonly received

           large deposits of funds from its ATM business partners, TBTI used the funds

           to replenish the cash in the ATM machines it serviced. Exhibit E displays

           TBTI’s ATM business related activity on a monthly basis for the Relevant

           Time Period.          Net cash flow generated from the ATM business of

   29
     Craig Hipp d/b/a A&K Electronic Solutions received $1,157,761 in payments from JCS credit card payments.
   Those payments are not included in this summary.
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         approximately $171,000 during the Relevant Time Period was not sufficient

         to meet TBTI's investor obligations.

                2.    Geebo

                      KM included the activity in the Geebo bank accounts within the

         Bank Reconstruction because it is a related party, under Receivership and

         both JCS and TBTI transferred funds into the Geebo bank accounts. Exhibit

         F is a summary of the activity in the Geebo bank account.

                      There were deposits from merchant accounts into the Geebo

          bank accounts that totaled approximately $19,250 and payments to

          merchant accounts totaling $3,134.          KM has not determined the

          payee/payor related to or the reason for, these transactions.

                      Between October 2013 and January 2014, there was a total of

          $1.084 million in deposits from the sale of “Geebo Territory Purchases” into

          the Receivership Entities.   Of this amount, $260,000 was returned to the

          purchasing parties in March 2014.



                3.    Other sources of funds into JCS

                      JCS received funds from the following sources:

                         Deposits totaling $9,449 from a merchant processor

                          referenced as “Geebo Sales”; and,

                         Deposits totaling $13,588 that referenced gaming related

                          transactions.




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             F.       Investor Related Cash Flow Analysis

                      1.      JCS Merchant Account

                              Although JCS and TBTI maintained separate bank accounts

             and accounting records, JCS collected TBTI investor credit card payments

             through its merchant accounts yet TBTI made the monthly return payments

             to the investors. The JCS merchant accounts were arranged to deposit funds

             into four different JCS bank accounts.30



                      2.      Transfers from JCS to TBTI

                              During     the     Relevant      Time     Period,      JCS     transferred

             approximately $42 million dollars to TBTI and TBTI utilized these funds to

             repay investors approximately $39 million. However, in February 2014, JCS

             stopped funding TBTI which resulted in a decrease in investor payments to

             $578,000 for February 2014 and $5,700 for March 2014. Exhibit G displays

             detail on a monthly basis.



   VII.      BASIS OF OPINIONS

                      KM’s opinions are based on the documents reviewed and enumerated

             at Exhibit A, and Melissa Davis' expertise and experience as a Certified

             Public Accountant, Certified Insolvency and Restructuring Advisor, Certified

             Fraud      Examiner       and     practitioner    addressing         fraud   investigations,

             solvency/insolvency and restructuring issues for over 10 years.



   30
        The four JCS bank account are: BBT-5654, TD-8571, TD-3894, and SC-1921.
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                             EXHIBITS
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                                                                                                                        Exhibit A

                                            Securities and Exchange Commission, Plaintiff,
                                                                  v.
                                                         JCS Enterprises, Inc.,
                                             d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                          Joseph Signore, and Paul Schumack II, Defendants
                                                Case No.: 14-80468-Civ-Middlebrooks
                                                      United States District Court
                                                      Southern District of Florida

                                                      Documents Utilized

      Item                                                         Description
        1    Bank Records (Exhibit A.1)

       2     American Express Credit Card Statements (Exhibit A.2)

       3     QuickBooks Records for JCS and TBTI

       4     Check Registers from JCS Checksoft Software

       5     Merchant Activity Data obtained from NMI Gateway

       6     Investor Files - JCS
       7     Investor Files - TBTI
       8     Merchant Account Statements - Signapay
       9     Merchant Account Statements - First Data

      10     JCS Investor Database

      11     Kiosk Location List

      12     JCS Advertising Contracts

      13     Accounts Payable Files

      14     Investor Support Documents produced by investors

      15     Tax Returns and related workpapers- JCS

      16     Tax Returns and related workpapers - TBTI
      17     Plaintiff's Exhibits in Support of its Ex Parte Motion for Temporary Restraining Order and Other Emergency Relief. [D.E.
             4]

      18     Plaintiff’s Emergency Motion for Appointment of Receiver and Supporting Memorandum of Law and related exhibits.
             [D.E.10]
      19     Amended Order Appointing Receiver. [D.E. 19]


      20     Receiver’s Emergency Motion to Expand Receivership to include My Gee Bo, Inc. with Incorporated Memorandum of
             Law [D.E. 23]
      21     Order Granting Receiver’s Emergency Motion to Expand Receivership to include My Gee Bo, Inc. [D.E. 26]

      22     First Report of Receiver James D. Sallah, Esq. [D.E. 107-1]

      23     Declaration of James D. Sallah, Esq as Receiver for JCS Enterprises, Inc. d/b/a JCS Enterprises Services Inc., T.B.T.I,
             Inc., and My Gee Bo, Inc. [D.E. 114-1]
      24     Order Granting Receiver’s Motion to Expand Receivership to Include JOLA Enterprise Inc. and PSCS Holdings, LLC
             [D.E. 114-2]
      25     Florida Department of State Division of Corporations website, www.sunbiz.org
      26     www.sec.gov/answers/ponzi.htm
      27     Association of Certified Fraud Examiners, Fraud Examiners Manual 2014 International Edition, Financial Transactions &
             Fraud Schemes, Consumer Fraud, Ponzi and Pyramid Schemes, 1.1224-1.225.



                                   SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                      84
                                                                                                           Exhibit A.1

                                        Securities and Exchange Commission, Plaintiff,
                                                              v.
                                                     JCS Enterprises, Inc.,
                                         d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                      Joseph Signore, and Paul Schumack II, Defendants
                                            Case No.: 14-80468-Civ-Middlebrooks
                                                  United States District Court
                                                  Southern District of Florida

                                           Bank Records Utilized For This Report

                                                                                 Account
                                                                                             Statement    Statement End
                Bank Account Name                          Name of Bank           Number
                                                                                             Start Date        Date
                                                                                 Ending In
T.B.T.I. Inc.                                       Bank of America                 2038      12/01/11      04/30/14

T.B.T.I. Inc.                                       Bank of America                 4783      12/01/11      03/31/14

T.B.T.I. Inc.                                       Bank of America                 4820      12/01/11      03/31/14

JCS Enterprises Inc.                                BB&T                            5654      07/31/13      04/30/14

My Gee Bo Inc                                       BB&T                            1024      08/28/13      11/07/13

JCS Enterprises, Inc. / Joseph Signore Pres Laura   Scottrade                       6374      10/01/13      04/30/14
Signore VP
My Gee Bo Inc Joseph Signore Pres                   Scottrade                       3916      10/01/13      09/30/14

JCS Enterprises Services Inc                        Seacoast National Bank          1921      10/25/13      04/30/14

JCS Enterprises Services Inc                        Seacoast National Bank          2061      10/25/13      04/30/14

JCS Enterprises Services Inc                        Seacoast National Bank          4001      12/26/13      04/30/14

JCS Enterprises Services Inc "M" Account            Seacoast National Bank          2141      10/25/13      04/30/14

JCS Enterprises Inc                                 SunTrust                        3602      09/10/13      10/31/13

JCS Enterprises Inc Manufacturer                    SunTrust                        3610      09/10/13      10/31/13

My Gee Bo Inc                                       SunTrust                        3636      09/10/13      11/06/13

JCS Enterprises                                     TD Bank                         8571      01/25/12      12/30/13

JCS Enterprises                                     TD Bank                         6824      10/15/10      01/27/12

JCS Enterprises                                     TD Bank                         6688      11/03/10      02/29/12

JCS Enterprises Geebo Acct                          TD Bank                         3894      03/01/13      09/09/13

JCS Enterprises Manufacturing Account               TD Bank                         8109      12/12/11      09/10/13

TBTI Inc                                            TD Bank                         4901      07/03/12      04/30/14




                                   SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                                                                                      Exhibit A.2

                                     Securities and Exchange Commission, Plaintiff,
                                                           v.
                                                  JCS Enterprises, Inc.,
                                      d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                   Joseph Signore, and Paul Schumack II, Defendants
                                         Case No.: 14-80468-Civ-Middlebrooks
                                               United States District Court
                                               Southern District of Florida

                                 Credit Card Documents Utilized For This Report

                                                                     Account Number
            Bank Account Name                     Name of Bank                           Start Date   End Date
                                                                        Ending In

JCS Enterprises Inc / Joseph Signore          American Express      5-66003              09/01/13      12/31/13

JCS Enterprises Inc / Joseph Signore          American Express      5-65005              01/01/13      08/31/13

JCS Enterprises Inc / Joseph Signore          American Express      5-64008              09/01/12      12/31/12

JCS Enterprises Inc / Joseph Signore          American Express      5-63000              02/01/12      08/31/12

JCS Enterprises Inc / Joseph Signore          American Express      5-62010              01/01/11      01/01/12

JCS Enterprises Inc / Malcolm C Swasey        American Express      5-62002              01/01/11      01/01/12


                                       SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                                                             84
                                                         Securities and Exchange Commission, Plaintiff,
                                                                                                                                          v.
                                                                                                                        JCS Enterprises, Inc.,
                                                                                                             d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                                                                                          Joseph Signore, and Paul Schumack II, Defendants
                                                                                                                  Case No. 14-cv-80468-Civ-Middlebrooks
                                                                                                                       United States District Court
                                                                                                                       Southern District of Florida


                                                                                                                Sources and Uses of Funds
                                                                                                 For the Period of December 1, 2011 through April 30, 2014

Source: JCS,
        JCS TBTI and Geebo consolidated bank reconstruction

                                                            FUNDS RECEIVED                                                                                FUNDS DISBURSED


                                                                                                                                    Investors                 ATM Business
                                                                                                                                   $49,752,796                 $15,601,809
                                                                                                                                      (Note 4)




                                   Investors                                                                                                                   Operations &
                                                             ATM Business                                                             Insiders
                                  $80,840,553                                                                                                                    Facilities
                                                              $15,773,111                                                           $11,715,895
                                     (Note 4)                                                                                                                   $8,541,131




                                                                 Geebo                                                                                                                                                             Transfer to
    Beginning                       Insiders /                                                         Total Funds                 Commissions                 Credit Cards                         Total Funds                                            Ending Balance
                                                                Territory                                                                                                                                                           Receiver
     Balance                     Related Parties                                                        Received                    $6,429,356                 $2,101,948                            Disbursed                                                   $0
                                                               Purchases                                                                                                                                                           $3,631,153
     $41,166                       $1,157,381                                                          $99,307,597                                                                                  $95,676,444                                                 (Note 2)
                                                               $1,084,000                                                                                                                                                             (Note 1)



                                                                                                                                                                  Further
                                  Operating &                                                                                      Real Estate &               Investigation
                                                              Advertisingg
                                   F iliti
                                   Facilities                                                                                      Rent Related                  Required
                                                               $21,143
                                   $390,243                                                                                          $436,131                    $466,121
                                                                (Note 5)
                                     (Note 6)                                                                                                                     (Note 3)




                                                                                                                                      Geebo
                                                                                                                                                               Professional
                                                                                                                                     Territory
                                                                                                                                                                   Fees
                                                                                                                                     Purchases
                                                                                                                                                                $371,257
                                                                                                                                     $260,000



Notes:
1. Amount of funds transferred to Receiver on or before April 29, 2014.

2. Does not include JCS and Geebo bank account interest earned of $18.04 (combined) on April 30, 2014.

3. KM does not currently know the recipient for approximately $466,000 in disbursements due to insufficient information provided by the financial institution. The Receiver's investigation is ongoing.

4. To date there is approximately $4.8 million in deposits where KM has made the assumption they are investor related and has not identified the name of the investor. This amount is comprised of approximately $4.2 million from merchant processor transactions and
$526,000 from unknown remitters on cashier's checks, transfers and deposits. The disbursements include $240,370 in chargeback transactions where KM has not yet identified the name of the investor due to insufficient information provided by the financial institutions. The
Receiver's investigation is ongoing.
5. There is approximately $10,836 in deposits for which KM has made the assumption the transactions are advertising related but has not identified the name of the payor due to insufficient data provided by the financial institutions.

6. Operating & Facilities receipts include: $250,000 return from Blue Water Ventures, Inc; Geebo and gambling related sales of $23,007; Taxes/Licenses and Trading activity of approximately $36,000; Merchant activity of approximately $19,250; Paychex payroll from TBTI
for approximately $18,000; and funds from Weiss Law Group of $12,000.




                                                                                                       SEE EXPERT REPORT DATED JANUARY 21, 2015
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                                                                                                        Exhibit C

                                         Securities and Exchange Commission, Plaintiff,
                                                                v.
                                                      JCS Enterprises, Inc.,
                                           d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                        Joseph Signore, and Paul Schumack II, Defendants
                                              Case No.: 14-80468-Civ-Middlebrooks
                                                   United States District Court
                                                   Southern District of Florida

                                                  Net Investor Losses
                                    For the Period December 1, 2011 - April 30, 2014
        Source: JCS, TBTI, and Geebo consolidated bank reconstruction


                                                Investor Receipts       Investor Disbursements      Net Investor Loss
                      Date
                                                   Per Month                   Per Month             (Notes 1 and 2)

        December 31, 2011                   $                 313,599 $                   4,719 $               (308,881)
        January 31, 2012                                      203,652                    34,845                 (168,806)
        February 29, 2012                                     320,789                    53,867                 (266,922)
        March 31, 2012                                        800,258                    85,045                 (715,214)
        April 30, 2012                                        294,050                   160,769                 (133,281)
        May 31, 2012                                          230,558                   201,296                  (29,262)
        June 30, 2012                                         317,775                   219,001                  (98,774)
        July 31, 2012                                         671,491                   263,876                 (407,615)
        August 31, 2012                                       520,897                   340,273                 (180,624)
        September 30, 2012                                    573,300                   359,536                 (213,764)
        October 31, 2012                                    1,450,825                   494,623                 (956,202)
        November 30, 2012                                   1,198,850                   645,427                 (553,423)
        December 31, 2012                                   1,678,670                   706,709                 (971,961)
        January 31, 2013                                    1,340,875                   955,607                 (385,268)
        February 28, 2013                                   2,062,410                 1,126,532                 (935,878)
        March 31, 2013                                      3,767,854                 1,490,534               (2,277,321)
        April 30, 2013                                      3,969,617                 1,822,823               (2,146,795)
        May 31, 2013                                        5,247,070                 2,185,971               (3,061,099)
        June 30, 2013                                       5,173,904                 2,848,212               (2,325,692)
        July 31, 2013                                       5,943,055                 3,202,632               (2,740,423)
        August 31, 2013                                     9,468,225                 3,737,520               (5,730,705)
        September 30, 2013                                  8,593,513                 4,462,682               (4,130,831)
        October 31, 2013                                    7,174,575                 5,148,124               (2,026,451)
        November 30, 2013                                   7,281,169                 5,264,307               (2,016,863)
        December 31, 2013                                  10,953,291                 6,761,304               (4,191,987)
        January 31, 2014                                    1,266,780                 3,379,284                2,112,504
        February 28, 2014                                      17,500                 1,886,225                1,868,725
        March 31, 2014                                          6,000                 1,512,454                1,506,454
        April 30, 2014                                            -                     398,600                  398,600
                                           $               80,840,553 $              49,752,796 $           (31,087,757)



        Note 1) Net investor loss is presented on an aggregate basis. To date, this analysis includes $4,843,333 in
        deposits where KM has made the assumption the funds are related to investor deposits but an investor name
        has not yet been determined due to insufficient information provided by the financial institutions. There are
        also $240,370 in chargeback transactions where an investor name has not been determined.


        Note 2) This analysis is presented on an aggregate basis. Actual losses incurred by individual investors may
        exceed $31,087,757 since some investors received more from the scheme than they invested.



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                                        84                                  Exhibit D

                                                    Securities and Exchange Commission, Plaintiff,
                                                                          v.
                                                                 JCS Enterprises, Inc.,
                                                     d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                                   Joseph Signore, and Paul Schumack, Defendants
                                                        Case No.: 14-80468-Civ-Middlebrooks
                                                              United States District Court
                                                              Southern District of Florida

                                                      Cumulative Liability to Investors
                                                 For the Period December 2011 - April 2014

                                                                                                                     Cumulative
                             Cumulative        Cumulative                                      Cumulative
                                                                         Cumulative                                Investor Funds     Net Cumulative
                             Advertising   Investor Funds Per                               Liability Based on
          Date                                                         Number of Units                              Disbursed Per       Liability to
                          Revenue Per Bank        Bank                                      Units Sold (Note
                                                                        Sold (Note 1)                                   Bank        Investors (Note 2)
                           Reconstruction    Reconstruction                                          1)
                                                                                                                   Reconstruction
December 31, 2011         $                 - $            313,599                    66 $            712,800    $            4,719 $           708,082
January 31, 2012                            -              517,251                   138            1,490,400                39,564          1,450,836
February 29, 2012                           -              838,040                   240            2,592,000                93,431          2,498,569
March 31, 2012                              -            1,638,298                   471            5,086,800               178,476          4,908,324
April 30, 2012                              -            1,932,348                   550            5,940,000               339,245          5,600,755
May 31, 2012                              769            2,162,906                   586            6,328,800               540,541          5,788,259
June 30, 2012                             867            2,480,681                   671            7,246,800               759,542          6,487,258
July 31, 2012                             942            3,152,172                   862            9,309,600             1,023,418          8,286,182
August 31, 2012                         1,112            3,673,070                 1,010           10,908,000             1,363,691          9,544,309
September 30, 2012                      1,382            4,246,370                 1,185           12,798,000             1,723,227         11,074,773
October 31, 2012                        1,871            5,697,195                 1,644           17,755,200             2,217,850         15,537,350
November 30, 2012                       2,326            6,896,045                 2,025           21,870,000             2,863,277         19,006,723
December 31, 2012                       3,380            8,574,715                 2,555           27,594,000             3,569,986         24,024,014
January 31, 2013                        4,672            9,915,590                 2,967           32,043,600             4,525,593         27,518,007
February 28, 2013                       6,572           11,978,000                 3,570           38,556,000             5,652,126         32,903,874
March 31, 2013                          7,106           15,745,854                 4,707           50,835,600             7,142,660         43,692,940
April 30, 2013                          8,988           19,715,471                 5,867           63,363,600             8,965,482         54,398,118
May 31, 2013                           10,476           24,962,541                 7,443           80,384,400            11,151,453         69,232,947
June 30, 2013                          12,636           30,136,446                 9,003           97,232,400            13,999,665         83,232,735
July 31, 2013                          15,236           36,079,501                10,667          115,203,600            17,202,297         98,001,303
August 31, 2013                        16,364           45,547,726                13,337          144,039,600            20,939,817        123,099,783
September 30, 2013                     20,019           54,141,238                15,252          164,721,600            25,402,499        139,319,101
October 31, 2013                       20,019           61,315,813                17,107          184,755,600            30,550,623        154,204,977
November 30, 2013                      20,019           68,596,982                19,288          208,310,400            35,814,929        172,495,471
December 31, 2013                      20,465           79,550,273                22,302          240,861,600            42,576,233        198,285,367
January 31, 2014                       20,940           80,817,053                22,536          243,388,800            45,955,517        197,433,283
February 28, 2014                      20,940           80,834,553                22,541          243,442,800            47,841,742        195,601,058
March 31, 2014                         21,143           80,840,553                22,543          243,464,400            49,354,196        194,110,204
April 30, 2014                         21,143           80,840,553                22,543          243,464,400            49,752,796        193,711,604



Note 1) KM’s calculations are based on the transactions in the bank reconstruction and a review of the investor files. To date, there is approximately $4.8
million in receipts where KM has not identified the name of the investor or the number of units purchased due to insufficient information provided by
financial institutions. JCS and TBTI’s internal records reflected the sale of approximately 25,000 VCMs to approximately 1,800 investors. The Receiver’s
investigation is ongoing.


Note 2) Each unit sold was to yield a return of $300 per month per machine for 36-48 months. This amount is based upon the conservative calculation that
the payment stream was limited to 36 months and equates to $300 per month for 36 months for each unit sold.


Note 3) Amount is calculated as Cumulative Liability Based on Units sold reduced for actual payments made to investors.



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                                 Securities and Exchange Commission, Plaintiff,
                                                       v.
                                              JCS Enterprises, Inc.,
                                  d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                               Joseph Signore, and Paul Schumack II, Defendants
                                          Case No.: 9:14-civ-80468-DMM
                                           United States District Court
                                           Southern District of Florida


                               TBTI ATM Business Activity
               For the Period of December 1, 2011 through March 13, 2014
    Source: JCS, TBTI and Geebo Consolidated Bank Reconstruction


                      Date                            Total Receipts              Total Disbursements
    December 31, 2011                           $                     390,782 $                    438,835
    January 31, 2012                                                 425,490                      420,893
    February 29, 2012                                                348,603                      339,045
    March 31, 2012                                                    556,217                     545,516
    April 30, 2012                                                    438,266                     385,961
    May 31, 2012                                                     357,004                      364,838
    June 30, 2012                                                     389,503                     390,619
    July 31, 2012                                                     444,375                      426,753
    August 31, 2012                                                   439,696                      395,832
    September 30, 2012                                                345,513                      316,689
    October 31, 2012                                                  346,359                      406,604
    November 31, 2012                                                 380,736                      414,058
    December 31, 2012                                                 419,249                      434,830
    January 31, 2013                                                  365,865                      346,434
    February 28, 2013                                                 331,570                      359,081
    March 31, 2013                                                    512,369                      479,084
    April 30, 2013                                                    420,386                      418,216
    May 31, 2013                                                      526,113                      604,070
    June 30, 2013                                                     765,150                      748,159
    July 31, 2013                                                   1,049,758                    1,050,868
    August 31, 2013                                                   895,506                      959,616
    September 30, 2013                                                814,757                      773,037
    October 31, 2013                                                  907,329                      989,620
    November 31, 2013                                               1,093,951                    1,094,309
    December 31, 2013                                               1,199,212                    1,215,374
    January 31, 2014                                                1,323,894                    1,230,931
    February 28, 2014                                                 168,755                       10,821
    March 13, 2014                                                    116,703                       41,717
                                               $                   15,773,111 $                15,601,809



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                             Securities and Exchange Commission, Plaintiff,
                                                  v.

               JCS Enterprises Inc., dba JCS Enterprises Services, Inc and T.B.T.I. Inc.,
                               Joseph Signore, and Paul Schumack II,
                                Case No.: 14-80468-Civ-Middlebrooks
                                      United States District Court
                                      Southern District of Florida

                               Geebo Sources and Uses of Funds
                         For the Period August 28, 2013 - April 30, 2014

 Source: JCS, TBTI and Geebo Consolidated Bank Reconstruction


                                      Sources and Uses of Funds
                  Type                   Sources      %       Uses                    %              Net
 Geebo Territory Purchases                     784,000     48.43%       260,000     51.78%           524,000
 Operating & Facilities (Note 3)                 19,408    1.20%        215,541     42.93%          (196,133)

 Transfer to/from TBTI                           90,000    5.56%         22,500                       67,500

 Commissions                                        -      0.00%           2,500    0.50%              (2,500)

 Investor                                           -      0.00%           1,500    0.30%              (1,500)

 Personal & Miscellaneous Expenses                2,457                       43                       2,414

 Transfer to/from JCS                          723,100     44.66%            -      0.00%            723,100
                                          $ 1,618,965               $   502,084                $ 1,116,881



 Transfer to Receiver (Note 1)                                                                     (1,116,881)
 Net Remaining Balance (Note 2)                                                                $           -



 Notes
 This activity is included in the consolidated reconstruction and is presented here to demonstrate the
 sources and uses of cash within the Geebo bank accounts.

 1. Transferred to Receiver on April 29, 2014.
 2. Does not include interest earned of $8.57 on April 30, 2014.
 3. Operating expenses include: Advertising/Marketing expense of $201,854, Trading Activity of $5,508
 and Merchant Activity of $3,134. Operating Receipts include: Merchant Activity of $19,250.



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                                                                                              Exhibit G

                                   Securities and Exchange Commission, Plaintiff,
                                                            v.
                           JCS Enterprises, Inc., d/b/a Enterprises Services, Inc., T.B.T.I. Inc.,
                                 Joseph Signore, and Paul Schumack II, Defendants
                                         Case No.: 14-80468-Civ-Middlebrooks
                                              United States District Court
                                              Southern District of Florida


         Monthly Payments from JCS to TBTI and Monthly Payments from TBTI to Investors
                                  For the Period December 1, 2011 - April 30, 2014

     Source: JCS, TBTI and Geebo Consolidated Bank Reconstruction


                                                       Disbursements from                Disbursements from
                      Date
                                                           JCS to TBTI                    TBTI to Investors

     December 31, 2011                          $                           -      $                           4,719
     January 31, 2012                                                    24,300                               34,845
     February 29, 2012                                                   46,900                               53,867
     March 31, 2012                                                      76,750                               83,545
     April 30, 2012                                                     156,550                             153,269
     May 31, 2012                                                       166,500                             179,396
     June 30, 2012                                                      188,800                             201,901
     July 31, 2012                                                      223,275                             230,276
     August 31, 2012                                                    288,050                             298,273
     September 30, 2012                                                 331,350                             327,436
     October 31, 2012                                                   480,800                             445,423
     November 30, 2012                                                  569,225                             586,627
     December 31, 2012                                                  532,975                             647,009
     January 31, 2013                                                 1,087,600                             866,883
     February 28, 2013                                                1,086,650                             967,182
     March 31, 2013                                                   1,321,125                            1,233,914
     April 30, 2013                                                   1,639,120                            1,519,173
     May 31, 2013                                                     2,137,025                            1,770,771
     June 30, 2013                                                    2,558,550                            2,267,992
     July 31, 2013                                                    2,926,500                            2,622,662
     August 31, 2013                                                  3,790,450                            3,060,150
     September 30, 2013                                               4,478,775                            3,728,262
     October 31, 2013                                                 5,070,222                            4,394,174
     November 30, 2013                                                4,906,000                            4,404,057
     December 31, 2013                                                5,894,525                            5,666,769
     January 31, 2014                                                 2,000,000                            2,195,434
     February 28, 2014                                                      -                               578,875
     March 31, 2014                                                         -                                  5,774
     April 30, 2014                                                          -                                    -
                                                $                    41,982,017   $                       38,528,657



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                 QUALIFICATIONS
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                                      84
                           Melissa Davis, CPA, CIRA, CFE
                            mdavis@kapilamukamal.com


      Melissa Davis is a Partner at KapilaMukamal, LLP.

      Professional Experience

      Ms. Davis concentrates on providing bankruptcy, litigation and forensic investigation services
      to debtors, creditors, receivers, assignees, bankruptcy trustees, examiners and liquidating
      trusts. Her practice also includes forensic accounting, fraud investigations and litigation
      support matters.
      Ms. Davis has served as a financial advisor to fiduciaries operating distressed companies in a
      variety of industries including mobile fueling, health insurance, real estate, hospitality, assisted
      living facilities/nursing homes, metal extrusion, stevedoring and waste management. Her
      experience includes distressed business operations, management, preservation of collateral
      and asset divestiture services.
      Ms. Davis has investigated fraudulent and preferential transfers, prepared defense, solvency
      and liquidation analyses. She has worked on asset tracing, provided litigation support and
      damage calculation services, including forensic and securities fraud investigations and
      corporate business conduct analysis. Ms. Davis has extensive experience in Ponzi-scheme
      investigations and analysis. Her forensic and fraud investigations have involved working in
      conjunction with the Securities and Exchange Commission, the Federal Trade Commission,
      the Federal Bureau of Investigation and the United States Attorney's Office.
      Ms. Davis has testified in court and depositions and served as a court appointed Assignee for
      the Benefit of Creditors.

      Education

            Bachelor of Business Administration degree, with a major in Accounting from
             Florida Atlantic University, Boca Raton, Florida
            Member and officer of the academic accounting fraternity, Beta Alpha Psi
            Recipient of Florida Institute of Certified Public Accountants academic scholarship

      Professional Qualifications/Affiliations

            Certified Public Accountant, State of Florida
            Certified Insolvency & Restructuring Advisor
            Certified Fraud Examiner
            Association of Insolvency & Restructuring Advisors
            Association of the Certified Fraud Examiners
            American Institute of Certified Public Accountants
            Florida Institute of Certified Public Accountants
            American Bankruptcy Institute
            Bankruptcy Bar Association of the Southern District of Florida
            International Woman’s Insolvency & Restructuring Confederation




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                                      84
                           Melissa Davis, CPA, CIRA, CFE
                            mdavis@kapilamukamal.com




      Speaking Engagements

            Central Florida Bankruptcy Law Association – “What Do Boy Bands and Healthcare
             Have in Common”, July 2014.
            Florida Bar Business Law Section – “Professional Fiduciaries: Responsibilities and
             Duties”; May 2014
            Tampa Bay Bankruptcy Bar Association – “What Do Boy Bands and Healthcare have
             in Common”; March 2014
            Bankruptcy Bar Association of the Southern District of Florida– "Valuation Issues in
             Bankruptcy"; May 2013
            American Bankruptcy Institute Southeast Regional Conference – “Ponzi Schemes and
             Barring Claims Against the Guilty”; July 2012
            Turnaround Management Association – "Current Issues in Real Estate"; April 2012

      Publications

            “Ponzi Schemes: Fiduciaries May Be The “Saving Grace”, ABI Journal (2014)
            “A Health Care Fraud and Bankruptcy Primer”, Southern District of Florida Bankruptcy
             Bar Association Journal (2014)
            "Rising Tide in the Wake of Ponzi", ABI Journal (2013)

      Community Involvement

            Summit Questa Montessori School PTO Treasurer 2013, Auction Chair 2012-2014
            Leukemia & Lymphoma Society Team In Training Participant and Volunteer 2012-
             2014
            Women In Distress - Annual Back to School and Thanksgiving Drives 2011-2013




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                                      84
   Melissa Davis, CPA, CIRA, CFE
   Case Experience

   Hearing Testimony

   FTC v. American Precious Metals, LLC
   Case No. 11-61072-CIV-ZOLCH
   Client – David Chase, Receiver for American Precious Metals, LLC
   Forensic accounting/asset tracing
   Attorney contact – Patrick Rengstl, Levine Kellogg Lehman, Schneider & Grossman - Miami

   Ocean Bank v. Lexington Place Associates, LLC
   Case No. 08-CA-2750
   Client – Ocean Bank
   Forensic accounting/asset tracing
   Attorney Contact – James Robinson, White & Case - Miami

   Atlantic Rolloff Services, Inc.
   Case No. 06-11592-PGH
   Client: Kenneth A. Welt, Chapter 11 Trustee of Atlantic Rolloff Services, Inc.
   Asset sale/allocation accounting
   Attorney contact – Daniel Gonzalez, Meland Russin & Budwick - Miami

   Rothstein Rosenfeldt Adler, PA
   Case No. 09-34791-RBR Chapter 11
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Russell Blain, Stichter Riedel, Blain & Prosser, PA – Tampa, FL


   Deposition Testimony

   Banyon 1030-32 v. Maple Leaf Drilling Partners, et. al.
   Case No. 13-01297-RBR
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Scott Stichter, Stichter Riedel, Blain & Prosser, PA – Tampa, FL

   Melanie Damien as Receiver for the Estate of Aubrey Lee Price v. KM Homes, LLC
   Case No. 1:12-CV-03977-TCB
   Client – Melanie Damian
   Forensic Accounting
   Attorney Contact- Guy Giberson, Damian & Valori – Miami, FL

   Rothstein Rosenfeldt Adler, PA
   Case No. 09-34791-RBR Chapter 11
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Russell Blain, Stichter Riedel, Blain & Prosser, PA – Tampa, FL




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                                      84
   Melissa Davis, CPA, CIRA, CFE
   Case Experience

   PSN Liquidating Trust, Plaintiff v. Intelsat Corporation
   Case No. 02-11913-BKC-AJC Chapter 11
   Client – Soneet R. Kapila, Examiner for PSN Liquidating Trust
   Expert Witness - Insolvency
   Attorney Contact – Edward Griffith, Bolatti Griffith – New York

   Bankest Capital Corp. v. E.S. Bankest, L.C.
   Case No.04-10941-AJC
   Client: Soneet R. Kapila, Chapter 7 Trustee of Bankest Capital Corp.
   Fact Witness – Records/forensic accounting
   Attorney Contact – Kenneth Robinson, Rice Pugatch Robinson Schiller - Ft. Lauderdale

   L. Allen Greenfield v. Terminal Cash Solutions, LLC
   Case No. 05-02375-RBR
   Client: Soneet R. Kapila, Chapter 7 Trustee of Terminal Cash Solutions
   Fact Witness – Records
   Attorney Contact – Lisa Schiller, Rice Pugatch Robinson Schiller - Ft. Lauderdale




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                                      84
                           Melissa Davis, CPA, CIRA, CFE
                            mdavis@kapilamukamal.com


      Melissa Davis is a Partner at KapilaMukamal, LLP.

      Professional Experience

      Ms. Davis concentrates on providing bankruptcy, litigation and forensic investigation services
      to debtors, creditors, receivers, assignees, bankruptcy trustees, examiners and liquidating
      trusts. Her practice also includes forensic accounting, fraud investigations and litigation support
      matters.
      Ms. Davis has served as a financial advisor to fiduciaries operating distressed companies in a
      variety of industries including mobile fueling, health insurance, real estate, hospitality, assisted
      living facilities/nursing homes, metal extrusion, stevedoring and waste management. Her
      experience includes distressed business operations, management, preservation of collateral
      and asset divestiture services.
      Ms. Davis has investigated fraudulent and preferential transfers, prepared defense, solvency
      and liquidation analyses. She has worked on asset tracing, provided litigation support and
      damage calculation services, including forensic and securities fraud investigations and
      corporate business conduct analysis. Ms. Davis has extensive experience in Ponzi-scheme
      investigations and analysis. Her forensic and fraud investigations have involved working in
      conjunction with the Securities and Exchange Commission, the Federal Trade Commission, the
      Federal Bureau of Investigation and the United States Attorney's Office.
      Ms. Davis has testified in court and depositions and served as a court appointed Assignee for
      the Benefit of Creditors.

      Education

            Bachelor of Business Administration degree, with a major in Accounting from
             Florida Atlantic University, Boca Raton, Florida
            Member and officer of the academic accounting fraternity, Beta Alpha Psi
            Recipient of Florida Institute of Certified Public Accountants academic scholarship

      Professional Qualifications/Affiliations

            Certified Public Accountant, State of Florida
            Certified Insolvency & Restructuring Advisor
            Certified Fraud Examiner
            Association of Insolvency & Restructuring Advisors
            Association of the Certified Fraud Examiners
            American Institute of Certified Public Accountants
            Florida Institute of Certified Public Accountants
            American Bankruptcy Institute
            Advisory Board of the American Bankruptcy Institute (ABI)
             Caribbean Insolvency Symposium (2016)
            International Woman’s Insolvency & Restructuring Confederation
            Bankruptcy Bar Association of the Southern District of Florida




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                                      84
                           Melissa Davis, CPA, CIRA, CFE
                            mdavis@kapilamukamal.com




      Speaking Engagements/Panels

            Jacksonville Bankruptcy Bar Association 23rd Annual Bankruptcy Seminar – “E-
             Discovery in Bankruptcy: Why Should You Care?”, August 2015
            American Bankruptcy institute 2015 Southeast Bankruptcy Workshop – “Time for Trial:
             Evidentiary Issues in Bankruptcy Litigation, July 2015
            Central Florida Bankruptcy Law Association – “What Do Boy Bands and Healthcare
             Have in Common”, July 2014.
            Florida Bar Business Law Section – “Professional Fiduciaries: Responsibilities and
             Duties”, May 2014
            Tampa Bay Bankruptcy Bar Association – “What Do Boy Bands and Healthcare have in
             Common”, March 2014
            Bankruptcy Bar Association of the Southern District of Florida– "Valuation Issues in
             Bankruptcy", May 2013
            American Bankruptcy Institute Southeast Regional Conference – “Ponzi Schemes and
             Barring Claims Against the Guilty”, July 2012
            Turnaround Management Association – "Current Issues in Real Estate", April 2012

      Publications

            “Fraud and Forensics: Piercing Through The Deception In A Commercial Fraud Case”
             – American Bankruptcy Institute (2015)
            “Ponzi Schemes: Fiduciaries May Be The “Saving Grace”, ABI Journal (2014)
            “A Health Care Fraud and Bankruptcy Primer”, Southern District of Florida Bankruptcy
             Bar Association Journal (2014)
            "Rising Tide in the Wake of Ponzi", ABI Journal (2013)

      Community Involvement

            Summit Questa Montessori School PTO Treasurer 2013-14, Auction Chair 2012-2015
            Leukemia & Lymphoma Society Team In Training Participant and Volunteer 2012-2014
            Women In Distress - Annual Back to School and Thanksgiving Drives 2011-2015




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   Melissa Davis, CPA, CIRA, CFE
   Case Experience

   Trial Testimony

   United States of America v. Craig Allen Hipp
   Case No. 14-80081-CR-Hurley
   Client – James D. Sallah, Receiver for JCS Enterprises, et. al.
   Expert Witness - Forensic Accounting, Ponzi Schemes
   Attorney Contact – Ellen Cohen, Assistant U.S. Attorney

   Court Hearing Testimony

   Rothstein Rosenfeldt Adler, PA
   Case No. 09-34791-RBR Chapter 11
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Russell Blain, Stichter Riedel, Blain & Prosser, PA – Tampa, FL

   FTC v. American Precious Metals, LLC
   Case No. 11-61072-CIV-ZOLCH
   Client – David Chase, Receiver for American Precious Metals, LLC
   Forensic accounting/asset tracing
   Attorney contact – Patrick Rengstl, Levine Kellogg Lehman, Schneider & Grossman - Miami

   Ocean Bank v. Lexington Place Associates, LLC
   Case No. 08-CA-2750
   Client – Ocean Bank
   Forensic accounting/asset tracing
   Attorney Contact – James Robinson, White & Case - Miami

   Atlantic Rolloff Services, Inc.
   Case No. 06-11592-PGH
   Client: Kenneth A. Welt, Chapter 11 Trustee of Atlantic Rolloff Services, Inc.
   Asset sale/allocation accounting
   Attorney contact – Daniel Gonzalez, Meland Russin & Budwick - Miami


   Deposition Testimony

   Banyon 1030-32 v. Maple Leaf Drilling Partners, et. al.
   Case No. 13-01297-RBR
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Scott Stichter, Stichter Riedel, Blain & Prosser, PA – Tampa, FL

   Melanie Damien as Receiver for the Estate of Aubrey Lee Price v. KM Homes, LLC
   Case No. 1:12-CV-03977-TCB
   Client – Melanie Damian
   Forensic Accounting
   Attorney Contact- Guy Giberson, Damian & Valori – Miami, FL




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   Melissa Davis, CPA, CIRA, CFE
   Case Experience

   Rothstein Rosenfeldt Adler, PA
   Case No. 09-34791-RBR Chapter 11
   Client – Robert Furr, Chapter 11 Trustee Banyon 1030-32
   Forensic Accounting
   Attorney Contact – Russell Blain, Stichter Riedel, Blain & Prosser, PA – Tampa, FL

   PSN Liquidating Trust, Plaintiff v. Intelsat Corporation
   Case No. 02-11913-BKC-AJC Chapter 11
   Client – Soneet R. Kapila, Examiner for PSN Liquidating Trust
   Expert Witness - Insolvency
   Attorney Contact – Edward Griffith, Bolatti Griffith – New York

   Bankest Capital Corp. v. E.S. Bankest, L.C.
   Case No.04-10941-AJC
   Client: Soneet R. Kapila, Chapter 7 Trustee of Bankest Capital Corp.
   Fact Witness – Records/forensic accounting
   Attorney Contact – Kenneth Robinson, Rice Pugatch Robinson Schiller - Ft. Lauderdale

   L. Allen Greenfield v. Terminal Cash Solutions, LLC
   Case No. 05-02375-RBR
   Client: Soneet R. Kapila, Chapter 7 Trustee of Terminal Cash Solutions
   Fact Witness – Records
   Attorney Contact – Lisa Schiller, Rice Pugatch Robinson Schiller - Ft. Lauderdale




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